        Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 1 of 34 PageID #:442
State v. Department of Justice, --- F.3d ---- (2020)


                                                                  [3] notice condition concerning scheduled release dates for
                                                                  detained aliens was “programmatic” information that could
                   2020 WL 911417
                                                                  be required from grant applicants;
    Only the Westlaw citation is currently available.
    United States Court of Appeals, Second Circuit.
                                                                  [4] past-tense phrase in federal statute requiring coordination
  STATE of New York, State of Connecticut, State of               with affected agencies did not preclude Attorney General
 New Jersey, State of Washington, Commonwealth of                 from requiring ongoing coordination;
 Massachusetts, Commonwealth of Virginia, State of
                                                                  [5] access condition concerning detained aliens was
 Rhode Island, City of New York, Plaintiffs-Appellees,
                                                                  authorized by statute; and
                             v.
 United States DEPARTMENT OF JUSTICE, William
                                                                  [6] DOJ did not act arbitrarily or capriciously in failing to
  P. Barr, in his official capacity as Attorney General           offer a document discussing the detrimental effects feared by
     of the United States, Defendants-Appellants.                 state and local governments.

                Nos. 19-267(L); 19-275(con)
                             |                                    Partial summary judgment reversed; mandate vacated;
                     August Term 2018                             remanded with directions.
                             |
                  Argued: June 18, 2019                           Procedural Posture(s): On Appeal; Motion for Permanent
                             |                                    Injunction; Motion for Summary Judgment.
                Decided: February 26, 2020

Synopsis                                                           West Headnotes (29)
Background: States and city brought action against Attorney
General and Department of Justice (DOJ) for declaratory,
                                                                   [1]    States
injunctive, and mandamus relief, raising Administrative
Procedure Act (APA) and constitutional challenges to
immigration-related conditions for federal formula grants for             While the Tenth Amendment reserves powers
law enforcement activities under Edward Byrne Memorial                    to the States, the federal government maintains
Justice Assistance Grant Program. The United States District              broad and preeminent power in the realm of
Court for the Southern District of New York, Edgardo Ramos,               immigration policy, which is codified in an
                                                                          extensive and complex statutory scheme, and a
J.,    343 F.Supp.3d 213, granted partial summary judgment
                                                                          State may not pursue policies that undermine
to plaintiffs. Defendants appealed.
                                                                          federal immigration law. U.S. Const. Amend. 10;
                                                                          Immigration and Nationality Act § 101 et seq.,
                                                                              8 U.S.C.A. § 1101 et seq.
Holdings: The Court of Appeals, Raggi, Circuit Judge, held
that:

                                                                   [2]    States
[1] compliance with federal laws identified by Attorney
General as being applicable to grant applicants was required;
                                                                          The States have no power, by taxation or
[2] federal statute, prohibiting any government entity or                 otherwise, to retard, impede, burden, or in
official from restricting the receipt, maintenance, or exchange           any manner control the operations of the
of information regarding citizenship or immigration status,               constitutional laws enacted by Congress to carry
did not violate Tenth Amendment's anticommandeering                       into execution the powers vested in the general
doctrine, as applied to certification condition for grants;               government.




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        Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 2 of 34 PageID #:443
State v. Department of Justice, --- F.3d ---- (2020)


                                                                    Attorney General (AAG), authorizing AAG to
 [3]    Federal Courts                                              exercise “such other powers and functions”
                                                                    vested in AAG under the statutory chapter
        The Court of Appeals reviews an award of                    or by delegation of Attorney General,
        summary judgment de novo, construing the                    “including placing special conditions on all
        record in the light most favorable to the non-              grants, and determining priority purposes for
        moving party.                                               formula grants,” signaled illustration rather
                                                                    than enlargement, and thus, the provision did
                                                                    not confer authority on Attorney General or
 [4]    Federal Courts                                              AAG to place immigration-related conditions
                                                                    on federal formula grants, under Edward Byrne
        The Court of Appeals will uphold an award of                Memorial Justice Assistance Grant Program, to
        summary judgment only if there is no genuine                state and local governments for law enforcement
        dispute as to any material fact, and the movant is          activities. 8 U.S.C.A. § 1373; 34 U.S.C.A. §§
        entitled to judgment as a matter of law.                    10102(a)(6), 10153(a)(4), (a)(5)(C, D), 10155.



 [5]    Administrative Law and Procedure                     [9]    Statutes

        Except when acting pursuant to powers expressly             Depending on context, the word “including” in a
        conferred on the Executive Branch by the                    statute can be either illustrative or enlarging.
        Constitution, an executive department or agency
        literally has no power to act unless and until
        Congress confers power upon it.                      [10]   United States


                                                                    Attorney General is vested with statutory
 [6]    Constitutional Law                                          authority to identify “applicable” federal laws,
                                                                    for purposes of statutory requirement that
        When the challenged action of a federal agency              state and local governments, as applicants for
        is not only unauthorized but also intrusive on              federal formula grants for law enforcement
        power constitutionally committed to a coordinate            activities under Edward Byrne Memorial Justice
        branch, the action may violate the Constitution,            Assistance Grant Program, certify in a “form”
        specifically, its mandate for the separation of             acceptable to Attorney General that they will
        legislative from executive powers.                          comply with all provisions of law pertaining to
                                                                    the program and all other “applicable Federal
                                                                    laws”; Attorney General's authority with respect
 [7]    Federal Courts                                              to a “form” includes not only style but also
                                                                    the specificity of its content, i.e., whether
        Statutory text is construed by an appellate court           certification is “acceptable” in a form that
        de novo.                                                    references “all other applicable Federal laws”
                                                                    generally, or whether such certification needs to
                                                                    be in a form that identifies specific applicable
                                                                    laws. 34 U.S.C.A. § 10153(a)(5)(D).
 [8]    United States


        Federal statute's use of word “including” in
                                                             [11]   United States
        provision at conclusion of list of criminal-
        justice-related duties assigned to Assistant



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        Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 3 of 34 PageID #:444
State v. Department of Justice, --- F.3d ---- (2020)


        Phrase “all other applicable Federal laws,”                  any state or local police force or law enforcement
        for purposes of statutory requirement that                   agency, nor mandate that state or local law
        state and local governments, as applicants for               enforcement authorities cooperate with federal
        federal formula grants for law enforcement                   immigration officers, and instead required only
        activities under Edward Byrne Memorial Justice               that nothing be done to prohibit voluntary
        Assistance Grant Program, certify in a form                  communication about citizenship or immigration
        acceptable to Attorney General that they will
                                                                     status among officials. 8 U.S.C.A. § 1373; 34
        comply with all provisions of law pertaining to
                                                                     U.S.C.A. §§ 10153(a)(5)(D), 10228.
        the program and “all other applicable Federal
        laws,” encompasses not only federal laws
        applicable to the grant, but also federal laws
                                                              [14]   Statutes
        identified by the Attorney General as being
        applicable to the grant applicant, such as a
        federal law prohibiting any government entity or             Subsequent legislative history is a hazardous
        official from restricting the receipt, maintenance,          basis for inferring the intent of an earlier
        or exchange of information regarding citizenship             Congress, particularly where post-enactment
        or immigration status as specified in that statute.          proposals do not become law.
        18 U.S.C.A. § 1373; 34 U.S.C.A. § 10153(a)(5)
        (D).
                                                              [15]   Constitutional Law

 [12]   Statutes                                                     As-applied constitutional challenges are the
                                                                     basic building blocks of constitutional
        A word in a statute that is not statutorily                  adjudication, and it is not the court’s traditional
        defined is properly construed according to its               institutional role to resolve questions of
        contemporary dictionary definition.                          constitutionality with respect to each potential
                                                                     situation that might develop.


 [13]   Aliens, Immigration, and Citizenship
                                                              [16]   States
        Federal statute prohibiting any other federal
        statute from being construed to impose federal               An anticommandeering principle derived from
        control over state and local criminal justice                the Tenth Amendment prohibits the federal
        agencies did not prohibit Attorney General from              government from compelling the States to enact
        construing a federal statute, prohibiting any                or administer a federal regulatory program. U.S.
        government entity or official from restricting the           Const. Amend. 10.
        receipt, maintenance, or exchange of information
        regarding citizenship or immigration status
        as specified in that statute, as being among          [17]   Federal Courts
        “applicable Federal laws” for which certification
        of compliance could be required from state                   A panel decision of the Court of Appeals controls
        and local governments seeking federal formula                another panel unless and until reversed by the
        grants for law enforcement activities under                  Court of Appeals en banc or by the Supreme
        Edward Byrne Memorial Justice Assistance                     Court.
        Grant Program; statute concerning citizenship
        and immigration status did not implicate
        federalization concerns, because it did not direct,
                                                              [18]   States
        control, or supervise day-to-day operations of



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        Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 4 of 34 PageID #:445
State v. Department of Justice, --- F.3d ---- (2020)


        An anticommandeering challenge to a federal
        statute depends on there being pertinent
        authority reserved to the States under the Tenth       [22]   United States
        Amendment. U.S. Const. Amend. 10.
                                                                      For federal grant conditions imposed on the
                                                                      States to be within the spending power of
 [19]   Aliens, Immigration, and Citizenship                          Congress, the conditions must: (1) promote
                                                                      the general welfare; (2) unambiguously inform
        While the federal government holds broad and                  States what is demanded of them; (3) reasonably
        preeminent power over immigration, that does                  relate to the federal interest in particular national
        not mean States can never enact any laws                      projects or programs; and (4) not induce
        pertaining to aliens, but courts must carefully               the States to engage in activities that would
        identify the powers reserved to States, under                 themselves be unconstitutional. U.S. Const. art.
        the Tenth Amendment, in this area of extensive                1, § 8, cl. 1.
        and complex federal legislation, and carefully
        identify the effect of the States' exercise of their
        powers on federal immigration laws and policies.       [23]   States
        U.S. Const. Amend. 10.
                                                                      A State is deprived of legitimate choice,
                                                                      so that Congress, in exercising its spending
 [20]   States                                                        power, violates the Tenth Amendment's
                                                                      anticommandeering principle by placing
        While        the      Tenth       Amendment's                 conditions on a State’s receipt of federal funds,
        anticommandeering principle prohibits Congress                only when the federal government imposes grant
        from regulating the States, Congress's                        conditions that pass the point at which pressure
        constitutional powers, notably under the                      turns into compulsion. U.S. Const. art. 1, § 8, cl.
        Spending Clause, do allow Congress to fix                     1; U.S. Const. Amend. 10.
        the terms on which it shall disburse federal
        money to the States, and by setting such terms,
        Congress can influence a State’s policy choices,       [24]   States
        and even implement federal policy it could not
        impose directly under its enumerated powers.
                                                                      Challenged federal statute, prohibiting any
        U.S. Const. Amend. 10; U.S. Const. art. 1, § 8,
                                                                      government entity or official from restricting the
        cl. 1.
                                                                      receipt, maintenance, or exchange of information
                                                                      regarding citizenship or immigration status as
                                                                      specified in that statute, did not violate Tenth
 [21]   States                                                        Amendment's anticommandeering doctrine, as
                                                                      applied to requirement that state and local
        Where Congress, in exercising its spending                    governments, as applicants for federal formula
        power, places conditions on a State’s receipt of              grants for law enforcement activities under
        federal funds, whether directly, or by delegation             Edward Byrne Memorial Justice Assistance
        of clarifying authority to an executive agency,               Grant Program, certify that they would comply
        there is no commandeering of reserved State                   with applicable federal laws, including the
        power under the Tenth Amendment, so long                      challenged statute; loss of funding resulting from
        as the State has a legitimate choice whether                  refusal to provide certification, e.g., less than
        to accept the federal conditions in exchange                  0.1% of a state's or a city's budget, would not
        for federal funds. U.S. Const. Amend. 10; U.S.                represent a loss that in percentage terms would be
        Const. art. 1, § 8, cl. 1.                                    so significant as to cross the line from pressure to



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        Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 5 of 34 PageID #:446
State v. Department of Justice, --- F.3d ---- (2020)


                                                                    some of whom inevitably would be aliens subject
        coercion. U.S. Const. Amend. 10; 8 U.S.C.A.
                                                                    to removal. 34 U.S.C.A. §§ 10153(a)(5)(C),
        § 1373; 34 U.S.C.A. § 10153(a)(5)(D).
                                                                    10155.


 [25]   Aliens, Immigration, and Citizenship
                                                             [27]   Aliens, Immigration, and Citizenship

        Notice condition for state and local governments
                                                                    Access condition for state and local governments
        seeking federal formula grants for law
                                                                    applying for federal formula grants for law
        enforcement activities under Edward Byrne
                                                                    enforcement activities under Edward Byrne
        Memorial Justice Assistance Grant Program,
                                                                    Memorial Justice Assistance Grant Program,
        requiring grant applicants to provide assurance
                                                                    requiring grant applicants to agree during grant
        that they would respond as early as practicable
                                                                    period to ensure access by federal immigration
        to written requests from federal immigration
                                                                    officials to their correctional facilities so officials
        authorities for notice of identified aliens’
                                                                    could meet with detained aliens to determine
        scheduled release dates, was “programmatic,”
                                                                    their immigration status, was authorized by
        within meaning of grant program's statutory
                                                                    federal statutory requirement that applicants
        provision allowing Attorney General to require
                                                                    certify in a form acceptable to Attorney General
        forms for assuring that grant applicants would
                                                                    their appropriate coordination with affected
        maintain and report such “data, records, and
                                                                    agencies; Department of Homeland Security
        information (programmatic and financial)” as
                                                                    (DHS) would be affected by granted-funded
        Attorney General might reasonably require;
                                                                    programs related to prosecution, incarceration,
        inevitably, for grant-funded programs of state
                                                                    or release of persons, some of whom inevitably
        and local governments that related in any way to
                                                                    would be removable aliens. 34 U.S.C.A. §§
        criminal prosecution, incarceration, or release of
                                                                    10153(a)(5)(C), 10155.
        persons, some of those persons would be aliens
        subject to removal. 34 U.S.C.A. §§ 10153(a)(5)
        (C), 10155.
                                                             [28]   Administrative Law and Procedure


 [26]   Aliens, Immigration, and Citizenship                        While agency action may be overturned as
                                                                    arbitrary and capricious if the agency entirely
                                                                    failed to consider an important aspect of the
        Use of past-tense phrase “has been,”
                                                                    problem at issue, a court will not lightly reach
        in federal statutory requirement that state
        and local governments, as applicants for                    that conclusion.      5 U.S.C.A. § 706(2)(A).
        federal formula grants for law enforcement
        activities under Edward Byrne Memorial Justice
        Assistance Grant Program, certify in a form          [29]   United States
        acceptable to Attorney General that there “has
        been appropriate coordination with affected
                                                                    Department of Justice (DOJ) did not act
        agencies,” did not preclude Attorney General
                                                                    arbitrarily and capriciously in imposing
        from requiring as appropriate coordination that
                                                                    immigration-related conditions for state and
        grant applicants, by time of grant application's
                                                                    local governments seeking federal formula
        filing, reach an agreement for a mutual
                                                                    grants for law enforcement activities under
        relationship during grant period with Department
                                                                    Edward Byrne Memorial Justice Assistance
        of Homeland Security (DHS) as an agency
                                                                    Grant Program, though DOJ did not offer a
        affected by grant-funded programs of state
                                                                    document discussing the detrimental effects
        and local governments that related to criminal
                                                                    feared by state and local governments, such as
        prosecution, incarceration, or release of persons,
                                                                    undermining relationships between immigrant


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        Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 6 of 34 PageID #:447
State v. Department of Justice, --- F.3d ---- (2020)


        communities and local law enforcement                  Victoria Pearson, for Mark R. Herring, Attorney General
        agencies; DOJ was aware of those concerns,             of the Commonwealth of Virginia, Richmond, Virginia;
        and there was no need to discuss the relative          Michael W. Field, for Peter F. Neronha, Attorney General
        detriments and benefits, because the sole              of the State of Rhode Island, Providence, Rhode Island, on
        question for DOJ concerning the certification          the brief) for Plaintiffs-Appellees the States of New York,
        condition was whether a federal statute                Connecticut, New Jersey, Washington, Rhode Island, and the
        prohibiting any government entity or official          Commonwealths of Massachusetts and Virginia.
        from restricting the receipt, maintenance, or
        exchange of information regarding citizenship          Jamison Davies, Richard Dearing, Devin Slack, for Zachary
        or immigration status was among “applicable            W. Carter, Corporation Counsel of the City of New York, New
        Federal laws,” and because notice and access           York, New York for Plaintiff-Appellee the City of New York.
        conditions concerning aliens in state or local
                                                               Adam Lurie, Caitlin Potratz Metcalf, Linklaters LLP,
        custody would not be expected to dissuade law-
                                                               Washington, D.C., Counsel for Amicus Curiae American
        abiding undocumented aliens who had been
                                                               Jewish Committee.
        crime victims or witnesses from reporting crimes
        or cooperating in investigation of crimes. 8           Spencer E. Amdur, Lee Gelernt, Omar C. Jadwat,
        U.S.C.A. § 1373; 34 U.S.C.A. §§ 10153(a)(4),           American Civil Liberties Union Foundation, New York,
                                                               New York; Christopher Dunn, New York Civil Liberties
        (a)(5)(C), 10155;     5 U.S.C.A. § 706(2)(A).          Union, New York, New York; Mark Fleming, Heartland
                                                               Alliance, Chicago, Illinois; Cody H. Wofsy, American
                                                               Civil Liberties Union of California Immigrants’ Rights
                                                               Project, San Francisco, California; Counsel for Amici
                                                               Curiae American Civil Liberties Union, New York Civil
West Codenotes
                                                               Liberties Union, National Immigrant Justice Center, National
Negative Treatment Reconsidered                                Immigration Law Center, Immigrant Legal Resource Center,
                                                               Asian Americans Advancing Justice—Asian Law Caucus,
   8 U.S.C.A. § 1373(a, b).                                    Washington Defender Association, and the New Orleans
                                                               Workers’ Center for Racial Justice.
On Appeal from the United States District Court for the
Southern District of New York (Edgardo Ramos, Judge)           Before: Winter, Cabranes, and Raggi, Circuit Judges.
Attorneys and Law Firms
                                                               Reena Raggi, Circuit Judge:
Brad Hinshelwood (Mark B. Stern, Daniel Tenny, on the
brief) for Joseph H. Hunt, Assistant Attorney General,
Appellate Staff, Civil Division, United States Department of                        INTRODUCTION
Justice, Washington, D.C., for Defendants-Appellants.
                                                                *1 The principal legal question presented in this appeal is
Anisha S. Dasgupta, for Letitia James, Attorney General of     whether the federal government may deny grants of money to
the State of New York, New York, New York (Barbara D.          State and local governments that would be eligible for such
Underwood, Eric R. Haren, Linda Fang, New York State           awards but for their refusal to comply with three immigration-
Office of the Attorney General, New York, New York; Mark       related conditions imposed by the Attorney General of the
Francis Kohler, Michael Skold, for William Tong, Attorney      United States. Those conditions require grant applicants to
General of the State of Connecticut, Hartford, Connecticut;    certify that they will (1) comply with federal law prohibiting
Jeremy Feigenbaum, for Gurbir S. Grewal, Attorney              any restrictions on the communication of citizenship and
General of the State of New Jersey, Trenton, New Jersey;       alien status information with federal immigration authorities,
Luke Alexander Eaton, for Robert W. Ferguson, Attorney         see     8 U.S.C. § 1373; (2) provide federal authorities,
General of the State of Washington, Olympia, Washington;       upon request, with the release dates of incarcerated illegal
David Urena for Maura Healey, Attorney General of the          aliens; and (3) afford federal immigration officers access to
Commonwealth of Massachusetts, Boston, Massachusetts;          incarcerated illegal aliens.



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        Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 7 of 34 PageID #:448
State v. Department of Justice, --- F.3d ---- (2020)


                                                                  of immigration policy, it is the federal government that
The case implicates several of the most divisive issues
                                                                  maintains “broad,”   Arizona v. United States, 567 U.S.
confronting our country and, consequently, filling daily news
                                                                  387, 394, 132 S.Ct. 2492, 183 L.Ed.2d 351 (2012), and
headlines: national immigration policy, the enforcement of
immigration laws, the status of illegal aliens in this country,   “preeminent,” power,   Toll v. Moreno, 458 U.S. 1, 10, 102
and the ability of States and localities to adopt policies on     S.Ct. 2977, 73 L.Ed.2d 563 (1982), which is codified in
such matters contrary to, or at odds with, those of the federal   an “extensive and complex” statutory scheme,         Arizona
government.                                                       v. United States, 567 U.S. at 395, 132 S.Ct. 2492. Thus, at
                                                                  the same time that the Supreme Court has acknowledged
Intertwined with these issues is a foundational legal question:   States’ “understandable frustrations with the problems caused
how, if at all, should federal, State, and local governments      by illegal immigration,” it has made clear that a “State may
coordinate in carrying out the nation’s immigration policy?
There is also a corollary question: to what extent may States     not pursue policies that undermine federal law.”        Id. at
and localities seeking federal grant money to facilitate the      416, 132 S.Ct. 2492. As Chief Justice John Marshall wrote
enforcement of their own laws adopt policies to extricate         over 200 years ago, “the states have no power, by taxation
themselves from, hinder, or even frustrate the enforcement of     or otherwise, to retard, impede, burden, or in any manner
federal immigration laws?                                         control, the operations of the constitutional laws enacted by
                                                                  congress to carry into execution the powers vested in the
At its core, this appeal presents questions of statutory          general government.”        McCulloch v. Maryland, 17 U.S.
construction. In proceedings below, the United States District    (4 Wheat.) 316, 436, 4 L.Ed. 579 (1819). This fundamental
Court for the Southern District of New York (Edgardo              principle, a bedrock of our federalism, is no less applicable
Ramos, Judge) determined that the Attorney General was            today. Indeed, it pertains with particular force when, as here,
not statutorily authorized to impose the challenged conditions    Congress acts pursuant to its power under the Spending
and, therefore, enjoined their application. See     New York v.   Clause. See U.S. CONST. art. I, § 8.
Dep’t of Justice, 343 F. Supp. 3d 213 (S.D.N.Y. 2018). The
thoughtful opinion of the district court requires us to examine
the authorization question in detail. For reasons explained                             BACKGROUND
in this opinion, we conclude that the plain language of the
relevant statutes authorizes the Attorney General to impose        *2 Invoking this court’s interlocutory jurisdiction pursuant
the challenged conditions.                                        to 28 U.S.C. § 1292(a)(1), defendants the United States
                                                                  Department of Justice and the Attorney General of the
In concluding otherwise, the district court relied on, among      United States (hereinafter, collectively, “DOJ”) appeal from
                                                                  an award of partial summary judgment entered on November
other things, an opinion of the Seventh Circuit in       City
of Chicago v. Sessions, 888 F.3d 272 (7th Cir. 2018). While       30, 2018. See        New York v. Dep’t of Justice, 343 F.
mindful of the respect owed to our sister circuits, we cannot     Supp. 3d 213 (S.D.N.Y. 2018). That judgment grants
agree that the federal government must be enjoined from           plaintiffs, the States of New York, Connecticut, New
imposing the challenged conditions on the federal grants          Jersey, Rhode Island, and Washington, the Commonwealths
here at issue. These conditions help the federal government       of Massachusetts and Virginia (hereinafter, collectively,
enforce national immigration laws and policies supported by       the “States”), and the City of New York (the “City”),
successive Democratic and Republican administrations. But         injunctive relief from three immigration-related conditions
more to the authorization point, they ensure that applicants      imposed by DOJ on the receipt of 2017 Byrne Program
satisfy particular statutory grant requirements imposed by        Criminal Justice Assistance grants (“Byrne grants”). Those
Congress and subject to Attorney General oversight.               conditions required 2017 Byrne grant applicants (1) to
                                                                  certify their willingness to comply with      8 U.S.C. § 1373,
 [1]    [2] Nor can we agree with the district court that         which law precludes government entities and officials from
the challenged conditions impermissibly intrude on powers         prohibiting or restricting the sharing of citizenship or alien-
reserved to the States. See U.S. CONST. Amend. X. As              status information with federal immigration authorities (the
the Supreme Court has repeatedly observed, in the realm           “Certification Condition”); (2) to provide assurance that,



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        Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 8 of 34 PageID #:449
State v. Department of Justice, --- F.3d ---- (2020)


upon written request of federal immigration authorities, grant
recipients would provide notice of an incarcerated alien’s           For reasons explained herein, we conclude that the challenged
scheduled release date (the “Notice Condition”); and (3) to          conditions do not violate either the APA or the Constitution.
certify that grant recipients would afford federal authorities       We therefore reverse the challenged judgment in favor of
access to State-incarcerated suspected aliens in order for those     plaintiffs and remand the case to the district court for further
authorities to determine the aliens’ right to remain in the          proceedings consistent with this opinion.
United States (the “Access Condition”). 1 The district court’s
judgment not only enjoins DOJ from enforcing these three
                                                                     I. The Byrne Justice Assistance Grant Program
requirements as to any of plaintiffs’ 2017 Byrne grants (which
                                                                     The Edward Byrne Memorial Justice Assistance Grant
DOJ has otherwise awarded), but also mandates that DOJ
                                                                     Program (“Byrne Program”), codified at 34 U.S.C. §§
release the withheld 2017 funds to plaintiffs without regard
                                                                     10151–10158, is the vehicle through which Congress
to the challenged conditions. See      id. at 245–46; App. at 45     annually provides more than $250 million in federal funding
(modifying mandate).                                                 for State and local criminal justice efforts. 2 The Byrne
                                                                     Program was created in 2006 as part of the Violence Against
Three of our sister circuits have now upheld injunctions             Women and Department of Justice Reauthorization Act of
precluding enforcement of some or all of the challenged              2005, Pub. L. No. 109-162, § 1111, 119 Stat. 2960, 3094
conditions as to other jurisdictions applying for Byrne grants.      (2006). That Act amended provisions of the Omnibus Crime
See     City of Los Angeles v. Barr, 941 F.3d 931 (9th Cir.          Control and Safe Streets Act of 1968, Pub. L. No. 90-351, tit.
                                                                     I, 82 Stat. 197, which itself had provided federal funding for
2019) (ruling as to Notice and Access Conditions); City of
                                                                     State and local law enforcement initiatives.
Philadelphia v. Attorney Gen., 916 F.3d 276 (3d Cir. 2019)
(ruling as to all three conditions);      City of Chicago v.          *3 The Byrne Program is a formula grant program, i.e.,
Sessions, 888 F.3d 272 (7th Cir. 2018) (ruling as to Notice and      Congress appropriates a fixed amount of funding for the
Access Conditions), reh’g en banc granted in part, opinion           program and specifies “how the funds will be allocated among
                                                                     the eligible recipients, as well as the method by which an
vacated in part,     No. 17-2991, 2018 WL 4268817 (7th Cir.
                                                                     applicant must demonstrate its eligibility for that funding.”
June 4, 2018) (vacating nation-wide injunction), reh’g grant
vacated, No. 17-2991, 2018 WL 4268814 (7th Cir. Aug. 10,             Office of Justice Programs, Grant Process Overview. 3 The
2018). The district court relied on the Seventh Circuit decision     Byrne Program’s statutory formula awards the States 50%
                                                                     of allocated funds based on their relative populations, see
in entering the challenged judgment, see New York v. Dep’t
of Justice, 343 F. Supp. 3d at 226–45; the later Third and Ninth        34 U.S.C. § 10156(a)(1)(A), and the other 50% based on
Circuit decisions were not then available to it.                     their relative rates of violent crime, see  id. § 10156(a)(1)
                                                                     (B). The formula further provides that, of total Byrne funds
In urging reversal, DOJ argues that the district court               awarded to a State, the State itself keeps 60%, with the
erred in holding that the challenged conditions violate              remaining 40% percent allocated to local governments within
the Administrative Procedure Act (“APA”),              5 U.S.C. §    the State. See    id. § 10156(b).
551 et seq., and the Constitution. As to the APA, DOJ
faults the district court for holding that (1) the Attorney          Congress affords States and localities wide discretion in using
General (and his designee, the Assistant Attorney General            Byrne grants. While awarded funds cannot substitute for a
(“AAG”)) lacked the requisite statutory authority to impose          state’s own expenditures, see id. § 10153(a)(1), Byrne grants
the challenged conditions; and (2) the conditions are, in            may be used to support such diverse needs as “additional
any event, arbitrary and capricious because DOJ failed to            personnel, equipment, supplies, contractual support, training,
consider their negative ramifications for applicants. As to the      technical assistance, and information systems,” pertaining to
Constitution, DOJ argues that (1) the district court having          a broad range of criminal justice initiatives:
found the conditions invalid under the APA, there was no need
for it to consider their constitutionality; and (2) the challenged
conditions do not raise either the separation-of-powers or
                                                                                  (A) Law enforcement programs. (B)
Tenth Amendment concerns identified by the district court.
                                                                                  Prosecution and court programs. (C)


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        Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 9 of 34 PageID #:450
State v. Department of Justice, --- F.3d ---- (2020)


            Prevention and education programs.                    Attorney General “shall issue” to carry out the program, id.
            (D) Corrections and community                         § 10155. 4
            corrections programs. (E) Drug
            treatment and enforcement programs.                    *4 Three statutory requirements for Byrne grants are
            (F) Planning, evaluation, and                         particularly relevant to this appeal. First, an applicant must
            technology improvement programs.                      certify that it “will comply with all provisions of this part [i.e.,
            (G) Crime victim and witness                          part of chapter pertaining to Byrne Program] and all other
            programs (other than compensation).                   applicable Federal laws.” Id. § 10153(a)(5)(D). Second, an
            (H) Mental health programs and                        applicant must provide assurance that it “shall maintain and
            related    law    enforcement    and                  report such data, records, and information (programmatic and
            corrections    programs,   including                  financial) as the Attorney General may reasonably require.”
            behavioral programs and crisis                        Id. § 10153(a)(4). Third, an applicant must certify that “there
            intervention teams,                                   has been appropriate coordination with affected agencies.” Id.
                                                                  § 10153(a)(5)(C).

id. § 10152(a). As Congress has explained, its intent was thus    The Attorney General’s authority to disapprove Byrne
to afford States and localities the “flexibility to spend money   applications not satisfying the program’s statutory
for programs that work for them rather than to impose a ‘one-     requirements is implicit in the statutory provision tempering
size fits all’ solution.” H.R. REP. NO. 109-233, at 89 (2005),    that authority with a required opportunity for correction:
as reprinted in 2005 U.S.C.C.A.N. 1636, 1640.                     the Attorney General “shall not finally disapprove” a
                                                                  deficient application “without first affording the applicant
Plaintiffs have received Byrne grants each year since that        reasonable notice of any deficiencies in the application and
program’s inception. They have used these grants for a variety    opportunity for correction and reconsideration.” Id. § 10154.
of purposes, including, but not limited to, supporting various    The authority to deny funds is further evident in Congress’s
investigative task forces, funding both prosecutors’ and          instruction as to how appropriated funds are to be distributed
public defenders’ offices, paying 911 operators, improving        if the Attorney General determines “that a State will be unable
their criminal records systems and forensic laboratories,         to qualify or receive [Byrne Program] funds”: that State’s
identifying and mentoring criminally at-risk youth and young      allocation under the statutory formula “shall be awarded
adults, operating drug courts and diversion programs for          by the Attorney General to units of local government, or
nonviolent felony offenders, mitigating gang violence in          combinations thereof, within such State,” giving priority to
prison, and funding prisoner re-entry services.                   those with the highest reported number of violent crimes. Id. §
                                                                  10156(f). Such denial authority is, moreover, consistent with
While the Byrne fund-distribution formula is statutorily          the discretion Congress has afforded the Attorney General
mandated, and while Byrne applicants can use such funds           to waive certain statutory program requirements, see id. §
for almost any law-enforcement-related purpose, no State or       10152(c)(2), and to develop “guidelines” for the statutorily
locality is automatically entitled to receive a Byrne grant.      required “program assessment component” of every Byrne
Rather, a jurisdiction seeking Byrne funding must submit          grant that is awarded, id. § 10152(c)(1).
an application satisfying a host of statutory requirements.
For example, a jurisdiction is statutorily required to make       The Attorney General is statutorily authorized to delegate the
its Byrne Program application public and to afford an             “powers and functions” thus vested in him by Title 34 to
opportunity for public comment before submitting its final        the AAG responsible for DOJ’s Office of Justice Programs,
application to the Attorney General. See 34 U.S.C. § 10153(a)     which office now administers the Byrne Program. Id. §
(3)(A)–(B). Also, a Byrne grant application must include a        10102(a)(6). Congress has made plain that the powers and
“comprehensive Statewide plan” detailing, as specified in         functions that may be so delegated “includ[e] placing special
§ 10153(a)(6)(A)–(E), how awarded grants will be used to          conditions on all grants, and determining priority purposes for
improve the jurisdiction’s criminal justice system. A Byrne       formula grants.” Id.
grant applicant must satisfy these, and all other statutory
requirements, “in such form as the Attorney General may
require,” id. § 10153(a), and subject to such “rules” as the      II. The Challenged Immigration-Related Conditions



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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 10 of 34 PageID #:451
State v. Department of Justice, --- F.3d ---- (2020)


In soliciting 2017 applications for Byrne Program grants,
                                                                                status as described in       8 U.S.C. §
then-Attorney General Jefferson B. Sessions III, on July 25,
                                                                                1373(b).
2017, announced the three immigration-related conditions at
issue in this case.

                                                                   *5 App. at 288–89, ¶¶ 52–53.
First, the Certification Condition requires a Byrne grant
applicant to execute a “Certification of Compliance with 8         Second, the Notice Condition requires Byrne grant recipients
U.S.C. § 1373.” App. at 288, ¶¶ 52–53. That statute, which         to have in place throughout the grant period a law, rule, or
the Attorney General identified as an “applicable Federal law”     policy for informing federal authorities, upon request, of the
for purposes of the certification requirement of 34 U.S.C. §       scheduled release date of an alien in the recipient’s custody.
10153(a)(5)(D), see supra at ––––, states, in pertinent part, as   It states that,
follows:
                                                                     as of the date the recipient accepts [a Byrne] award, and
                                                                     throughout the remainder of the period of performance for
             Notwithstanding any other provision                     the award—
             of Federal, State, or local law, a
                                                                     ...
             Federal, State, or local government
             entity or official may not prohibit,                    A State statute, or a State rule, -regulation, -policy, or -
             or in any way restrict, any                             practice, must be in place that is designed to ensure that,
             government entity or official from                      when a State (or State-contracted) correctional facility
             sending to, or receiving from,                          receives from DHS a formal written request authorized by
             the Immigration and Naturalization                      the Immigration and Nationality Act that seeks advance
             Service 5 information regarding the                     notice of the scheduled release date and time for a
             citizenship or immigration status,                      particular alien in such facility, then such facility will honor
             lawful or unlawful, of any individual.                  such request and—as early as practicable ...—provide the
                                                                     requested notice to DHS.

                                                                   Id. at 291, ¶ 55(1)(B).
18 U.S.C. § 1373(a). The Certification Condition thus
requires that,
                                                                   Finally, the Access Condition requires grant recipients to have
                                                                   a law, rule, or policy in place allowing federal authorities to
                                                                   meet with incarcerated aliens in order to inquire about their
             with respect to the “program or                       rights to remain in the United States. It states that,
             activity” funded in whole or part
             under this award (including any                         as of the date the recipient accepts [a Byrne] award, and
             such “program or activity” of any                       throughout the remainder of the period of performance for
             subrecipient at any tier), throughout                   the award—
             the period of performance for the
             award, no State or local government                     ...
             entity, -agency, or -official may
                                                                     A State statute, or a State rule, -regulation, -policy, or
             prohibit or in any way restrict—(1)
                                                                     -practice, must be in place that is designed to ensure
             any government entity or -official
                                                                     that agents of the United States acting under color of
             from sending or receiving information
                                                                     federal law ... are given ... access [to] any State (or
             regarding citizenship or immigration
                                                                     State-contracted) correctional facility for the purpose of
             status as described in     8 U.S.C. §                   permitting such agents to meet with individuals who are (or
             1373(a); or (2) a government entity or                  are believed by such agents to be) aliens and to inquire as to
             -agency from sending, requesting or                     such individuals’ rights to be or remain in the United States.
             receiving, maintaining, or exchanging
             information regarding immigration                     Id. at 291, ¶ 55(1)(A).


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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 11 of 34 PageID #:452
State v. Department of Justice, --- F.3d ---- (2020)


                                                                    you are not going to get bucks from the Federal Government
In announcing these conditions, Attorney General Sessions           if the local governments can’t communicate with the INS
stated an intent to “increase information sharing between           about illegal immigration and those who are involved in
federal, state, and local law enforcement, ensuring that            it.”)); see also id. at 26 (statement of Sen. Feinstein, D. Cal.
federal immigration authorities have the information they           (signaling that she would not support providing immigration
need to enforce immigration laws and keep our communities           “impact aid” to “States and local governments that declined to
safe.” Press Release, Attorney General Sessions Announces           cooperate in enforcement of [federal immigration] laws”)); 9
Immigration Compliance Requirements for Edward Byrne                id. (statement of Committee Chairman Sen. Kennedy,
Memorial Justice Assistance Programs (July 25, 2017). 6             D. Mass. (acknowledging concerns of some mayors that
The Attorney General was specifically critical of “[s]o-called      cooperation with federal immigration authorities could be
‘sanctuary’ policies [that] make all of us less safe because they   counterproductive to local law enforcement efforts, and
intentionally undermine our laws and protect illegal aliens         observing that federal aid had to be provided “in ways that
who have committed crimes.” Id. He stated that DOJ needed           are going to get the[ir immigration] cooperation but also, ...
to “encourage these ‘sanctuary’ jurisdictions to change their       [allow them] to deal with ... violence and gangs and drug
policies and partner with federal law enforcement to remove         problems and the rest. We are looking for balance ....”)).
[alien] criminals.” Thus, “[f]rom now on,” DOJ would “only
provide Byrne JAG grants to cities and states that comply with      *7 In its report accompanying the proposed legislation that
federal law, allow federal immigration access to detention
                                                                    would become      § 1373, the Senate Judiciary Committee
facilities, and provide 48 hours[’] notice before they release
                                                                    expressly recognized that the “acquisition, maintenance,
an illegal alien wanted by federal authorities.” Id. 7              and exchange of immigration-related information by State
                                                                    and local agencies is consistent with, and potentially
                                                                    of considerable assistance to, the Federal regulation of
III.    Title 8 U.S.C. § 1373                                       immigration and the achieving of the purposes and objectives
                                                                    of the Immigration and Nationality Act.” S. REP. NO.
 *6 Because an understanding of how            8 U.S.C. § 1373
became the focus of the Certification Condition is useful to a      104-249, at 19–20 (1996) (quoted in   City of New York
consideration of plaintiffs’ challenge to that condition, we set    v. United States, 179 F.3d at 32–33). Thus, in enacting
forth that history here.
                                                                       § 1373, as in enacting       § 1644, Congress sought “to
                                                                    give State and local officials the authority to communicate
   Section 1373 was enacted in 1996, when Congress took             with [federal immigration authorities] regarding the presence,
notice that certain states and localities were restricting their    whereabouts, or activities of illegal aliens,” notwithstanding
officials’ cooperation with federal immigration authorities.        any local laws to the contrary. H.R. REP. NO. 104-725, at
See generally H.R. REP. NO. 104-725H.R. REP. NO.                    383H.R. REP. NO. 104-725, at 383 (Conf. Rep.), as reprinted
104-725, at 391 (1996) (Conf. Rep.), as reprinted in 1996
                                                                    in 1996 U.S.C.C.A.N. at 2771 (quoted in       City of New York
U.S.C.C.A.N. 2649, 2779 (noting that various state statutes
                                                                    v. United States, 179 F.3d at 32).
and local laws prevent disclosure of individuals’ immigration
status to federal officials). 8                                     In the twenty years that followed, political debates over
                                                                    federal immigration policies grew more contentious, and
Members of the Senate Judiciary Committee voiced particular         the number of State and local jurisdictions limiting official
concern with granting federal funds to “State and local             cooperation with federal immigration authorities increased.
governments passing ordinances and rules which prohibit             In February 2016, Representative John Culberson (R.
State and local agencies from cooperating or communicating          Tex.), then the Chairman of the House Appropriations
with INS.” See The Impact of Immigration on the United              Subcommittee on Commerce, Justice, Science, and Related
States and Proposals to Reform U.S. Immigration Laws:               Agencies, forwarded to Attorney General Loretta E. Lynch
Hearing Before the Subcomm. on Immigration and Refugee              a report by the Center for Immigration Studies, which
Affairs of the Comm. on the Judiciary, 103d Cong. 45 (1994)         concluded that “over 300 ‘sanctuary’ jurisdictions [were]
[hereinafter Immigration Reform Hearings] (statement of             refus[ing] to comply with [federal immigration] detainers
Sen. Simpson, R. Wyo. (“I believe cooperation has to be [a]         or [were] otherwise imped[ing] information sharing with
condition[ ] for any Federal reimbursement. In other words,


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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 12 of 34 PageID #:453
State v. Department of Justice, --- F.3d ---- (2020)



federal immigration officials.” App. at 134. 10 Representative     IG, notably plaintiff New York City, DOJ conditioned the
Culberson asked the Attorney General to investigate whether        continuance of their 2016 Byrne grants on the submission
DOJ “grant recipients were complying with federal law,             of documentation validating their compliance with              §
                                                                           14
particularly ...     § 1373.” Id. (emphasis added).                1373.

The ensuing investigation was conducted by DOJ’s Inspector         In October 2016, DOJ published further guidance stating
General (“IG”) who, in May 2016, reported a significant,           that henceforth, “all” Byrne grant applicants “must certify
decade-long decline in state and local cooperation with            compliance with all applicable federal laws, including
federal immigration authorities. He reported that a 2007
                                                                      Section 1373.” App. at 182. Grant applicants were advised
congressionally mandated IG audit of seven jurisdictions
                                                                   “to examine their policies and procedures to ensure they
then receiving federal funds pursuant to the State Criminal
                                                                   will be able to submit the required assurances” in their 2017
Alien Assistance Program (“SCAAP”) revealed that all but
                                                                   applications. Id. at 183.
one (San Francisco) were accepting federal detainers and
providing federal authorities with timely notice of aliens’
                                                                   Thus, when in July 2017, a new Attorney General, serving
release dates. See App. at 134–35 n.1. By contrast, the IG’s
                                                                   a new, Republican administration, announced that applicants
2016 examination of ten jurisdictions receiving a combined
                                                                   for 2017 Byrne grants would have to certify their compliance
63% of relevant DOJ grants, 11 revealed that “all ... had
                                                                   with     § 1373, he was putting into effect the same condition
ordinances or policies that placed limits on cooperation” with
                                                                   earlier announced by DOJ under the preceding, Democratic
federal immigration authorities. Id.; see id. at 137, 145–
                                                                   administration.
49 (detailing limitations found). 12 The IG observed that
insofar as these limitations “may be causing local officials to
believe and apply the[se] policies in a manner that prohibits      IV. Plaintiffs’ 2017 Byrne Grant Awards
or restricts cooperation with [federal immigration officials] in   On June 26, 2018, DOJ applied the Byrne Program formula
all respects,” that would be “inconsistent with and prohibited     to award the plaintiff States Byrne grants totaling $25 million
by    Section 1373.” Id. at 141. Thus, “to the extent [DOJ]’s      —subject to their acceptance of the three immigration-related
focus is on ensuring that grant applicants comply with             conditions at issue. As to New York City, DOJ reiterated,
                                                                   in both October 2017 and January 2018, the concerns it had
   Section 1373,” the IG stated that it could consider taking      first expressed in 2016, i.e., that certain of the City’s laws or
“several steps,” including (1) clarifying that    § 1373 “is an    policies appeared to violate    § 1373, which could render it
‘applicable federal law’ ” that DOJ grant recipients “would be     ineligible for Byrne grants. See supra at n.14.
expected to comply with in order to satisfy relevant grant rules
and regulations”; and (2) “[r]equir[ing] grant applicants to        *9 In response to these DOJ actions, the plaintiff States
provide certifications specifying the applicants’ compliance       and City filed the instant related actions, challenging, inter
with Section 1373, along with documentation sufficient to          alia, the Certification, Notice, and Access Conditions for
support the certification.” Id. at 142.                            2017 Byrne grants as violative of both the APA and the
                                                                   Constitution.
 *8 Following this IG report, in July 2016, DOJ, then still
headed by Attorney General Lynch, specifically identified
                                                                   V. The Award of Summary Judgment to Plaintiffs
   § 1373 as “an applicable federal law” for purposes              On the parties’ cross motions for summary judgment, the
of both Byrne and SCAAP grants and began providing                 district court granted partial judgment to plaintiffs, enjoining
applicants and recipients with guidance as to the requirements     the enforcement of the challenged conditions as to them and
of that statute. That guidance explained that     § 1373           mandating the release of 2017 Byrne grant funds to plaintiffs.
imposed no affirmative obligation on States and localities
but, rather, prohibited such entities from taking actions          In so ruling, the district court held that the challenged
to restrict the exchange of immigration information with           conditions violated the APA in two respects: (1) the
                                                                   Attorney General lacked the statutory authority to impose
federal authorities. 13 For some jurisdictions identified by the



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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 13 of 34 PageID #:454
State v. Department of Justice, --- F.3d ---- (2020)


                                                                   may violate the Constitution, specifically, its mandate for the
the conditions, see     New York v. Dep’t of Justice, 343 F.
Supp. 3d at 227-31; and (2) defendants’ failure to consider        separation of legislative from executive powers. 16
the conditions’ potential negative ramifications for plaintiffs’
law enforcement efforts rendered the conditions arbitrary and       *10 [7] DOJ maintains that the Attorney General was
                                                                   statutorily authorized to impose each of the challenged
capricious, see     id. at 238-41.
                                                                   conditions. Whether Congress conferred such authority
                                                                   depends on statutory text, which we construe de novo. See
While the district court could have stopped there, it
                                                                   Kidd v. Thomson Reuters Corp., 925 F.3d 99, 103 (2d Cir.
proceeded also to rule on certain of plaintiffs’ constitutional
                                                                   2019); United States v. Shyne, 617 F.3d 103, 106 (2d Cir.
challenges. As to   § 1373 in particular, the district court       2010). 17
ruled that DOJ could not identify it as an “applicable
law” requiring compliance certification under 34 U.S.C. §
10153(a)(5)(D) because, on its face, § 1373 violates the                   A. Title 34 U.S.C. § 10102(a)(6) Does Not
anticommandeering principle of the Tenth Amendment to                     Itself Authorize the Challenged Conditions
the Constitution. See      id. at 231-37. Further, the district
                                                                   Because DOJ devotes considerable energy on this appeal,
court concluded that, in the absence of statutory authority for
                                                                   as it did in the district court, to arguing that the challenged
the Attorney General to impose the challenged conditions,
                                                                   conditions are authorized by 34 U.S.C. § 10102(a)(6), we
all three violated the separation of legislative and executive
                                                                   explain at the outset why that argument does not persuade.
powers mandated by Articles I and II of the Constitution. See
                                                                   We will then discuss sections of Title 34 that do authorize the
   id. at 238.                                                     conditions at issue.

Defendants timely appealed.                                        At the conclusion of a list of criminal-justice-related duties
                                                                   assigned to the AAG, § 10102(a)(6) authorizes the AAG,


                        DISCUSSION
                                                                                [to] exercise such other powers and
 [3] [4] We review an award of summary judgment de novo,                        functions as may be vested in the
construing the record in the light most favorable to the non-                   Assistant Attorney General pursuant to
moving party. See, e.g., Bentley v. AutoZoners, 935 F.3d 76,                    this chapter or by delegation of the
85 (2d Cir. 2019). We will uphold such an award only if there                   Attorney General, including placing
is no genuine dispute as to any material fact, and the movant                   special conditions on all grants,
is entitled to judgment as a matter of law. See id.                             and determining priority purposes for
                                                                                formula grants.

   I. Statutory Authorization To Impose the Challenged
   Conditions
                                                                   34 U.S.C. § 10102(a)(6) (emphasis added). Focusing on the
 [5] [6] Except when acting pursuant to powers expressly
                                                                   highlighted language, DOJ argues that § 10102(a)(6) does not
conferred on the Executive Branch by the Constitution—
                                                                   merely authorize the Attorney General to delegate powers and
which are not asserted here—an executive department or
                                                                   functions to the AAG, but also grants “addition[al]” authority,
agency “literally has no power to act ... unless and until
                                                                   which supports the three challenged conditions. Appellant Br.
Congress confers power upon it.” Louisiana Pub. Serv.
                                                                   at 22; see Reply Br. at 4–5.
Comm’n v. FCC, 476 U.S. 355, 374, 106 S.Ct. 1890, 90
L.Ed.2d 369 (1986). Thus, the APA requires that executive
                                                                   In rejecting this argument, the district court held that the
action taken in the absence of statutory authority be declared
                                                                   highlighted text is not a “ ‘stand-alone grant of authority to
invalid. See 5 U.S.C. § 706(2)(C). 15 When the challenged          the Assistant Attorney General to attach any conditions to any
action is not only unauthorized but also intrusive on power
                                                                   grants.’ ”    New York v. Dep’t of Justice, 343 F. Supp. 3d
constitutionally committed to a coordinate branch, the action



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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 14 of 34 PageID #:455
State v. Department of Justice, --- F.3d ---- (2020)


                                                                   In looking to whether the Attorney General is otherwise
at 228 (quoting     City of Chicago v. Sessions, 888 F.3d at
                                                                   authorized to impose the challenged conditions, we are
285). Rather, the introductory word “including” signals that
                                                                   mindful that three sister circuits have considered that question
the ensuing phrase is necessarily cabined by what went before
                                                                   before us and concluded that he is not. Their reasons for so
it.
                                                                   holding have not been uniform.
  Thus, the Assistant Attorney General can only place special
  conditions or determine priority purposes to the extent that     The Seventh Circuit so ruled with respect to the Notice and
  power already “may be vested in the Assistant Attorney           Access Conditions, reasoning that no provision of law outside
  General pursuant to this chapter or by delegation of the         § 10102(a)(6) specifically mentions “special conditions” or
  Attorney General[,]” ... who may only delegate it to the         “priority purposes” for Byrne grants. See       City of Chicago
  extent that he has such power himself.                           v. Sessions, 888 F.3d at 285.

   Id. (quoting 34 U.S.C. § 10102(a)(6)).                          The Ninth Circuit did not think that omission determinative.
                                                                   Reasoning that Congress could not have enacted § 10102(a)
This conclusion finds support not only in      City of Chicago     (6) “for the purpose of expressly authorizing the Assistant
v. Sessions, the Seventh Circuit decision quoted by the district   AG to exercise powers that do not exist,” that court construed
court, but also in subsequent decisions of the Third and Ninth     § 10102(a)(6) as effectively “confirming” what had been
                                                                   implicit in the overall statutory scheme, i.e., that the Attorney
Circuits. See     City of Los Angeles v. Barr, 941 F.3d at         General has the authority to impose special conditions on,
938-39;   City of Philadelphia v. Attorney Gen., 916 F.3d at       and to identify priority purposes for, Byrne grants, which
287-89. We agree with that much of these courts’ decisions.       authority he can delegate to the AAG.            City of Los
                                                                  Angeles v. Barr, 941 F.3d at 939. We agree with that
 *11 [8] [9] Depending on context, the word “including” much of the Ninth Circuit’s reasoning. The court goes on,
can be either illustrative or enlarging. Compare        Federal   however, to construe the terms “special conditions” and
Land Bank of St. Paul v. Bismarck Lumber Co., 314 U.S.            “priority purposes” narrowly and, from that, concludes that
95, 100, 62 S.Ct. 1, 86 L.Ed. 65 (1941) (construing word as       the Attorney General is not statutorily authorized to impose
illustrative of preceding section), with American Sur. Co. of     the challenged Notice and Access Conditions. See         id. at
N.Y. v. Marotta, 287 U.S. 513, 517, 53 S.Ct. 260, 77 L.Ed. 466    939-41 (construing “special conditions” as used in § 10102(a)
(1933) (observing that, “[i]n definitive provisions of statutes,” (6) to reference only “tailored requirements” necessary to
word frequently signifies extension rather than limitation),      particular circumstance “such as when a grantee is [at] ‘high-
and      Adams v. Dole, 927 F.2d 771, 776–77 (4th Cir. 1991)       risk’ ” of violating a grant’s terms, not general conditions
(noting dual meaning of word). The context here signals            applicable to all grants);  id. at 941-42 (limiting “priority
illustration rather than enlargement. It is the “other powers      purposes” for Byrne awards to purposes set out in § 10152(a)).
and functions” that may be vested in or delegated to the AAG
that can “include” the authority to impose special conditions      We cannot adopt the Seventh or Ninth Circuit’s conclusions
and to set priority purposes for Byrne Program grants. Thus,       because we do not think the Attorney General’s authority
§ 10102(a)(6) does not itself confer authority on the Attorney     to impose the three challenged conditions here derives
General (or AAG) to impose the conditions here at issue. The       from the words “special conditions” or “priority purposes.”
authority must originate in other provisions of law. That is the   Rather, we locate that authority in other provisions of
case here.                                                         law, specifically, those requiring Byrne grant applicants to
                                                                   satisfy the program’s statutory requirements in such “form”
                                                                   and according to such “rules” as the Attorney General
    B. Statutory Provisions Authorizing the Attorney               prescribes. See 34 U.S.C. §§ 10153(a), 10153(a)(5), 10155.
     General To Impose the Challenged Conditions                   Considering that form- and rule-making authority in light of
                                                                   three particular statutory requirements—(1) for certification
                                                                   of willingness to comply with “applicable Federal laws,” id.
      1. Other Circuits Identify No Such Authority
                                                                   § 10153(a)(5)(D); (2) for assurance that required information
                                                                   will be maintained and reported, see id. § 10153(a)(4); and


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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 15 of 34 PageID #:456
State v. Department of Justice, --- F.3d ---- (2020)


(3) for coordination with affected agencies, see id. § 10153(a)
(5)(C)—we conclude that the Attorney General is statutorily
                                                                          2. The Certification Condition Is Statutorily
authorized to impose the challenged conditions.
                                                                           Authorized by 34 U.S.C. § 10153(a)(5)(D)

 *12 Before explaining that conclusion, we acknowledge
that the Third Circuit, considering these same three statutory             a. The Statutory Text Requires Applicants
requirements, held that none supports the challenged                           To Certify a Willingness To Comply
                                                                             With “All ... Applicable Federal Laws”
conditions. See   City of Philadelphia v. Attorney Gen.,
916 F.3d at 285-91. The Third Circuit, however, viewed             The Certification Condition requires a Byrne grant applicant
the Attorney General’s statutory authority respecting Byrne        to certify that, throughout the grant period, it will comply
Program grants as “exceptionally limited.”       Id. at 284-85.    with      8 U.S.C. § 1373, the federal law prohibiting
We do not.                                                         any government entity or official from restricting the
                                                                   receipt, maintenance, or exchange of information regarding
The Third Circuit emphasized that the Byrne Program                citizenship or immigration status as specified in that statute.
awards formula grants. See     id. at 290. We agree that the       See supra at –––– (quoting condition). The Attorney
Attorney General’s authority to depart from that formula           General’s statutory authority to impose this condition
when awarding grants to qualified applicants is extremely          derives from 34 U.S.C. § 10153(a)(5)(D). Therein, Congress
limited. But before there can be an award, there must              specifically requires a Byrne grant applicant to include in its
be a demonstrated showing of qualification. Repeatedly             application “[a] certification, made in a form acceptable to the
and throughout its pronouncement of Byrne Program                  Attorney General” stating that “the applicant will comply with
statutory requirements, Congress makes clear that a grant          all provisions of this part and all other applicable Federal
applicant demonstrates qualification by satisfying statutory       laws.” 34 U.S.C. § 10153(a)(5)(D) (emphasis added).
requirements in such form and according to such rules as
the Attorney General establishes. This confers considerable        The conjunctive structure of § 10153(a)(5)(D) makes plain
                                                                   that a Byrne grant applicant must certify its willingness to
authority on the Attorney General. 18
                                                                   comply with more than those provisions of law specifically
                                                                   pertaining to the Byrne Program (“this part”). It must also
To be sure, the Attorney General’s authority in identifying
                                                                   certify its willingness to comply with “all other applicable
qualified Byrne applicants is not limitless but, rather,
                                                                   Federal laws.” Id. At the same time that this phrase expands
a function of the particular requirements prescribed by
                                                                   an applicant’s certification obligation, the word “applicable,”
Congress. Not surprisingly, however, Congress has prescribed
                                                                   as used in the phrase, serves a limiting function. A Byrne
those requirements broadly, enlisting the Attorney General to
                                                                   applicant is not required to certify its willingness to comply
delineate the rules and forms for them to be satisfied. See
                                                                   with the United States Code in its entirety as well as all
generally United States v. Haggar Apparel Co., 526 U.S. 380,
                                                                   accompanying regulations. Rather, an applicant must certify
392-93, 119 S.Ct. 1392, 143 L.Ed.2d 480 (1999) (explaining
                                                                   its willingness to comply with those laws—beyond those
that because “Congress need not, and likely cannot, anticipate
                                                                   expressly stated in Chapter 34—that can reasonably be
all circumstances in which a general policy must be given
                                                                   deemed “applicable.” This raises two questions: What is an
specific effect[,]” agency may issue rules so that statute
                                                                   “applicable” law? And who identifies it? We answer the
“may be applied ... in a manner consistent with Congress’
                                                                   second question first because it is not seriously disputed and,
general intent”). While the Attorney General certainly cannot
                                                                   thus, requires only brief discussion.
exercise that authority arbitrarily or capriciously, see infra
Point II, the authority itself cannot fairly be characterized as
“exceptionally limited.”
                                                                      1. The Attorney General Is Authorized To Identify
 *13 With that understanding, we proceed to consider each                “Other Applicable Federal Laws” Requiring
challenged condition and the statutory provisions supporting              § 10153(a)(5)(D) Compliance Certification
it.
                                                                    [10] The statutory text signals that the Attorney General
                                                                   identifies the laws requiring § 10153(a)(5)(D) compliance



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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 16 of 34 PageID #:457
State v. Department of Justice, --- F.3d ---- (2020)


certification. This is evident in the requirement that Byrne           could not be an “applicable” law requiring § 10153(a)(5)(D)
grant applicants provide certification in a “form acceptable
                                                                       certification.   Id. at 231. The Third Circuit subsequently
to the Attorney General.” Id. § 10153(a)(5). A “form” is
commonly understood to be a “document” for providing                   reached the same conclusion. See      City of Philadelphia v.
“required or requested specific information.” WEBSTER’S                Attorney Gen., 916 F.3d at 288-90. In so ruling, both courts
THIRD NEW INTERNATIONAL DICTIONARY 892                                 acknowledged that it would be reasonable to construe the
(1986). By requiring that § 10153(a)(5)(D) certification               statutory text to mean laws applicable to a grant applicant as
be in a “form acceptable to the Attorney General,” the                 well as to a requested grant. See     id. at 288;    New York
statute makes clear that it is the Attorney General who has            v. Dep’t of Justice, 343 F. Supp. 3d at 230-31. Nevertheless,
authority to “require[ ] or request[ ] specific information,”          the Third Circuit concluded that a narrower construction was
to ensure a grant applicant’s intended compliance with all             required by the canon against surplusage, the structure of the
other applicable federal laws. See id. Thus, § 10153(a)(5)(D)          statute, the historical practice of DOJ, and the formula-grant
authorizes the Attorney General to decide not only the style
(e.g., format and typeface) for § 10153(a)(5)(D) certification,        nature of the program. See City of Philadelphia v. Attorney
but also the specificity of its content, i.e., whether certification   Gen., 916 F.3d at 289-91. The district court relied on similar
is “acceptable” in a form that references “all other applicable        reasoning, as well as Congress’s obligation “unambiguously”
Federal laws” generally, or whether such certification needs           to impose conditions on grants of federal money, to justify

to be in a form that identifies specific applicable laws. 19           its narrow reading of § 10153(a)(5)(D).    New York v. Dep’t
                                                                       of Justice, 343 F. Supp. 3d at 231 (internal quotation marks
 *14 That Congress would vest such authority in the                    omitted). We cannot agree.
Attorney General makes sense for several reasons. First,
while Congress itself requires compliance certification as             [12] First and foremost, we do not think the statutory
to “all other applicable Federal laws,” the number of laws             text admits such narrowing. See generally     Connecticut
that could apply to States and localities seeking Byrne                Nat’l Bank v. Germain, 503 U.S. 249, 254, 112 S.Ct.
funding is large, variable, and not easily identified in a single      1146, 117 L.Ed.2d 391 (1992) (stating that “when the
statutory provision. Second, the Attorney General, as the              words of a statute are unambiguous ... judicial inquiry is
nation’s chief federal law enforcement official, is particularly
suited to identify the federal laws applicable to persons and          complete” (internal quotation marks omitted)); accord Mei
circumstances. Third, having the Attorney General identify             Xing Yu v. Hasaki Rest., Inc., 944 F.3d 395, 403 (2d Cir.
specific laws requiring § 10153(a)(5)(D) certification serves          2019) (citing     Connecticut Nat’l Bank v. Germain). The
the salutary purpose of affording applicants clear notice of           word “applicable,” as used in § 10153(a)(5)(D), is not
what is expected of them as Byrne grant recipients. 20                 statutorily defined. Thus, it is properly construed according
                                                                       to its contemporary dictionary definition, see     Taniguchi
                                                                       v. Kan Pac. Saipan, Ltd., 566 U.S. 560, 566, 132 S.Ct.
 2. “All Other Applicable Federal Laws” Encompasses                    1997, 182 L.Ed.2d 903 (2012); accord Munoz-Gonzalez
   Both Laws Applying To the Entity Seeking a Grant                    v. D.L.C. Limousine Serv., Inc., 904 F.3d 208, 213 (2d
  and Laws Applying To the Proposed Grant Program                      Cir. 2018), which is “capable of being applied: having
                                                                       relevance,” WEBSTER’S THIRD NEW INTERNATIONAL
[11] The district court nevertheless concluded that the                DICTIONARY 105. Statutes are “capable of being applied,”
Attorney General was not authorized to identify        § 1373          and can be relevant both to persons and to circumstances. A
as an applicable law. It held that “ ‘applicable Federal laws’         second dictionary definition for the word “applicable”—“fit,
for purposes of 34 U.S.C. § 10153(a)(5)(D) means federal               suitable, or right to be applied,” id.—only reinforces that
laws applicable to the grant,” not to the grant applicant.             conclusion, in that a statute may be fit, suitable, or right
                                                                       to apply both to persons and to circumstances. 21 Thus,
   New York v. Dep’t of Justice, 343 F. Supp. 3d at 230–
                                                                       an “applicable Federal law” under § 10153(a)(5)(D) is one
31. Because it thought that          § 1373 applies only to            pertaining either to the State or locality seeking a Byrne grant
applicants in their capacities as State and local governments,         or to the grant being sought.
not to their grants, the district court ruled that the statute



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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 17 of 34 PageID #:458
State v. Department of Justice, --- F.3d ---- (2020)


 *15 To the extent the district court might be understood          to the Byrne Program, this is evident from the fact that
to have construed “all other applicable laws” to mean only         Congress has expressly provided for alternative distributions
laws applying to States and localities as recipients of federal    of appropriated funds if “a State will be unable to qualify” for
grants, nothing in the statutory text suggests that Congress       a Byrne grant–a matter Congress also leaves for “the Attorney
there used the word “applicable” only in that limited sense. To
                                                                   General [to] determine[ ].” 34 U.S.C. § 10156(f); see supra
the contrary, Congress’s use of the adjective “all” to introduce
                                                                   at ––––. Thus, Byrne Program formula funding can be denied
the phrase “all other applicable Federal laws” signals an intent
                                                                   to an applicant that fails to provide the required § 10153(a)
to give the word “applicable” its full effect, not to narrow it.
                                                                   (5)(D) certification as to any “applicable Federal law[ ],”
See    Norfolk & W. Ry. Co. v. Am. Train Dispatchers Ass’n,        whether that law pertains to the particular grant sought or to
499 U.S. 117, 128–29, 111 S.Ct. 1156, 113 L.Ed.2d 95 (1991)        the applicant seeking it. 22
(explaining that phrase “all other law” is “clear, broad, and
unqualified” and “indicates no limitation” (internal quotation      *16 Indeed, whether a grant is awarded by formula or
marks omitted)).                                                   by discretion, there is something disquieting in the idea of
                                                                   States and localities seeking federal funds to enforce their
Second, we cannot agree with the Third Circuit that a              own laws while themselves hampering the enforcement of
redundancy or surplusage problem arises if “all other              federal laws, or worse, violating those laws. One has only to
applicable Federal laws” is construed to mean laws pertaining      imagine millions of dollars in Byrne funding being sought by
both to Byrne applicants and to the grants they seek.              a locality that is simultaneously engaged in persistent, serious
See      City of Philadelphia v. Attorney Gen., 916 F.3d at        violations of federal environmental laws. The formula nature
289 (concluding that such construction effectively equates         of the Byrne Program does not dictate that such an applicant
phrase with “other Federal laws,” making word “applicable”         must be given federal money even as it continues to flout
mere surplusage). As explained supra at ––––, the word             federal law. To the contrary, § 10153(a)(5)(D) authorizes the
“applicable” does serve a limiting function in the statutory       Attorney General to condition the locality’s receipt of a Byrne
text—even if not as limiting as plaintiffs might wish. Thus,       grant on its certified willingness to comply with all federal
to raise a redundancy concern, the Third Circuit must imply        laws applicable to that locality, which includes environmental
that if Congress had used the phrase “all other Federal laws”      laws.
in § 10153(a)(5)(D), then courts would have to infer the
word “applicable” because of the improbability of Congress         The conclusion obtains with even more force here, where
requiring certification for the entirety of federal law. But       enactment of the law at issue,      8 U.S.C. § 1373, was
Congress did not use that broader phrase in § 10153(a)(5)          informed by Congress’s concern that States and localities
(D). And we do not think its use of a modifying word               receiving federal grants were hampering the enforcement
—“applicable”—to make explicit in actual statutory text            of federal immigration laws. See supra at –––– – ––––.
what our sister circuit thinks would have to be implied in         Subsequent reports that increasing numbers of federal
a hypothetical alternative manifests surplusage. Rather, we        grant recipients were limiting cooperation with federal
think it demonstrates clear drafting.                              immigration authorities prompted a congressional request for
                                                                   DOJ investigation, the results of which led two successive
Third, the formula nature of the Byrne Program does not            Attorneys General serving different administrations to
warrant limiting the phrase “all other applicable Federal
laws.” While Congress’s intent in appropriating funds for          identify    § 1373 as an “applicable Federal law” requiring
formula (as distinct from discretionary) grants is to have         compliance certification. See supra at –––– – ––––. 23 We are
all the money distributed, even a formula grant applicant          satisfied that these identifications are authorized by the plain
must satisfy the program’s requirements before being entitled      language of § 10153(a)(5)(D), and the formula nature of the
to receive funding. Cf. Richard B. Cappalli, Rights and            Byrne Program requires no contrary conclusion.
Remedies Under Federal Grants 40 (1979) (remarking that
states typically qualify for formula grants after submitting       Fourth, the Third Circuit observes that certain § 10153(a)
document statutorily described as “state plan,” which serves       (5) certification requirements appear, on their face, to pertain
as “vehicle by which the state commits itself to abide by          to the requested grant rather than to the grant applicant.
the conditions which Congress attaches to the funds”). As          See     City of Philadelphia v. Attorney Gen., 916 F.3d at



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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 18 of 34 PageID #:459
State v. Department of Justice, --- F.3d ---- (2020)


289 (citing § 10153(a)(5)(A) (requiring certification that “the      program. We decline to construe § 10228 so broadly as to
programs to be funded by the grant meet all the requirements         render § 10153(a)(5)(D) inoperative. Cf. Mountain States
of this part”); § 10153(a)(5)(B) (requiring certification that       Tel. & Tel. Co. v. Pueblo of Santa Ana, 472 U.S. 237, 250,
“all the information contained in the application is correct”);      105 S.Ct. 2587, 86 L.Ed.2d 168 (1985) (noting “elementary
and § 10153(a)(5)(C) (requiring certification that “there            canon of construction that a statute should be interpreted so as
has been appropriate coordination with affected agencies”)).         not to render one part inoperative” (internal quotation marks
That, however, is insufficient reason to impose a similar
                                                                     omitted)). See generally    Ely v. Velde, 451 F.2d at 1136
limitation on § 10153(a)(5)(D), when the plain language of
                                                                     (declining to construe predecessor provision “so broadly as
that provision—“all other applicable Federal laws”—reaches
                                                                     unnecessarily to undercut solutions adopted by Congress to
more broadly. See generally     Norfolk & W. Ry. Co. v. Am.          preserve and protect other societal values”). 24
Train Dispatchers Ass’n, 499 U.S. at 127, 129, 111 S.Ct.
1156 (rejecting argument that exemption from “antitrust laws          *17 Fifth, DOJ’s own focus on laws pertaining to grants
and from all other law” was limited to antitrust-related laws;       rather than applicants in its past identifications of “applicable”
ejusdem generis canon does not apply where neither statutory         federal laws does not itself limit the word. Given the
text nor context supports urged limitation (emphasis added)          scope of local programs that can be funded with Byrne
(internal quotation marks omitted)).                                 grants, it is not surprising that DOJ would most frequently
                                                                     identify laws applicable to a particular program in specifying
 [13] In urging otherwise, plaintiffs point to 34 U.S.C. §           the form of an acceptable § 10153(a)(5)(D) certification.
10228, which states that “[n]othing in this chapter or any
other Act shall be construed to authorize any department,            See generally        City of Philadelphia v. Attorney Gen.,
agency, officer, or employee of the United States to exercise        916 F.3d at 290 (observing that if requested grant was
any direction, supervision, or control over any police force         to be used for body armor purchases or human research,
or any other criminal justice agency of any State or                 applicants were expected to certify willingness to comply
any political subdivision thereof.” As the Fourth Circuit            with applicable federal regulations in those areas). Far fewer,
has observed in construing § 10228’s predecessor statute,            one expects, will be the occasions when States and localities
the provision is intended “to guard against any tendency             seeking Byrne grants are themselves violators of federal laws
towards federalization of local police and law enforcement           applicable to them. Nevertheless, in such circumstances, the
                                                                     violated laws fall within the plain meaning of the phrase
agencies.”     Ely v. Velde, 451 F.2d 1130, 1136 (4th Cir.           “all other applicable Federal laws” as used in § 10153(a)
1971) (construing statute to prohibit federal authorities from       (5)(D). To illustrate, while the Attorney General can—and
“[prescribing] the type of shoes and uniforms to be worn             has—required applicants proposing to use Byrne grants for
by local law enforcement officers, the type or brand of              construction or renovation projects to comply with federal
ammunition to be purchased and used by police departments            environmental laws specifically applicable to such work, that
and many other vital matters pertaining to the day-to-day            hardly means he cannot also require an applicant that has
operations of local law enforcement” (citation omitted)).            a history of violating environmental laws generally from
    Section 1373 raises no such federalization concern. It does      certifying its willingness going forward to comply with such
not direct, control, or supervise the day-to-day operations of       laws. The laws are applicable in the former instance to
any State or local police force or law enforcement agency.           the grant purpose; in the latter, to the grant applicant. In
It does not mandate that State or local law enforcement              either case, the Attorney General is requiring compliance
authorities cooperate with federal immigration officers. It          certification as to “applicable Federal laws.”
requires only that nothing be done to prohibit voluntary
communication about citizenship or immigration status                Sixth, Congress’s duty to speak unambiguously in imposing
among such officials. See supra at ––––. To hold that §              conditions on federal grant money also does not require “all
10228 places such a statutory requirement outside the scope          other applicable Federal laws” to be construed to mean only
of applicable laws requiring § 10153(a)(5)(D) compliance             laws pertaining to grants and not to grant applicants. See
certification is to render that qualification condition a nullity,      New York v. Dep’t of Justice, 343 F. Supp. 3d at 231.
as compliance with every federal law necessarily places some
limits on a grant applicant’s actions. Indeed, that conclusion       The duty derives from   Pennhurst State School & Hospital
applies whether the law pertains to the applicant or the grant       v. Halderman, 451 U.S. 1, 101 S.Ct. 1531, 67 L.Ed.2d 694



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         Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 19 of 34 PageID #:460
State v. Department of Justice, --- F.3d ---- (2020)


(1981). The Supreme Court there analogized federal spending
                                                                      here may disagree with the identification of  § 1373 as an
legislation to “a contract: in return for federal funds, the States
                                                                      “applicable Federal law,” but they can hardly complain of
agree to comply with federally imposed conditions.”         Id.       inadequate notice.
at 17, 101 S.Ct. 1531. It concluded therefrom that Congress
must “speak with a clear voice” in placing conditions on              [14] In a final argument in support of their APA challenge
federal grants because there “can ... be no knowing acceptance
                                                                      to the Attorney General’s identification of       § 1373 as an
[of the putative contract] if a State is unaware of the
                                                                      applicable federal law, plaintiffs point to Congress’s rejection
conditions or is unable to ascertain what is expected of it.”
                                                                      of various legislative proposals to impose immigration-
   Id.                                                                related conditions on receipt of federal funds. As the
                                                                      Supreme Court has cautioned, “subsequent legislative history
“Knowing acceptance” is no concern here. Section 10153(a)             is a hazardous basis for inferring the intent of an earlier
(5)(D) provided plaintiffs with clear notice that their Byrne
                                                                      Congress.”       Pension Ben. Guar. Corp. v. LTV Corp., 496
grant applications had to include a certification, in a form
                                                                      U.S. 633, 650, 110 S.Ct. 2668, 110 L.Ed.2d 579 (1990)
acceptable to the Attorney General, of their willingness to
                                                                      (internal quotation marks omitted). Such legislative history
comply not only with laws specifically applicable to the
                                                                      “is a particularly dangerous ground” of construction where, as
Byrne Program, but also with “all other applicable Federal
laws.” To the extent the quoted phrase fails to specify               here, the “proposal[s] ... do[ ] not become law.” Id. Indeed,
precisely which laws are “applicable,” that uncertainty can           “several equally untenable inferences may be drawn from”
pertain as much for laws applicable to requested grants as for        congressional inaction, “including the inference that the
those applicable to grant applicants. Thus, the district court’s      existing legislation already incorporated the offered change.”

   Pennhurst reasoning does not support its conclusion that              Id. (internal quotation marks omitted). Thus, this challenge
“applicable Federal laws” can pertain only to requested Byrne         to the Attorney General’s § 10153(a)(5)(D) authority to
grants, not to grant applicants.                                      identify    § 1373 as an “applicable” law also fails.

But more to the point, no     Pennhurst concern arises                 *18 In sum, we conclude that the plain language of §
here because plaintiffs were given advance notice that                10153(a)(5)(D), authorizes the Attorney General to require
their 2017 Byrne grant applications had to certify a                  certification in a form that specifically references federal
                                                                      laws applicable either to the Byrne grant sought or to the
willingness to comply with       § 1373. Indeed, they were
given such notice twice, first in 2016, and again in 2017.            State or locality seeking that grant. Because      8 U.S.C. §
See supra at –––– – ––––. To be sure, that notice was                 1373 is a law applicable to all plaintiffs in this action, the
provided by DOJ rather than Congress. But the Supreme                 Attorney General was authorized to impose the challenged
Court has recognized that, in establishing federal grant              Certification Condition and did not violate either the APA or
programs, Congress cannot always “prospectively resolve               separation of powers by doing so.
every possible ambiguity concerning particular applications
of the [program’s statutory] requirements.”       Bennett v.
Kentucky Dep’t of Educ., 470 U.S. 656, 666, 669, 105 S.Ct.                          b. Tenth Amendment Challenge
1544, 84 L.Ed.2d 590 (1985) (making point in context of
federal education grant program). Thus, it has upheld an                                (1) “As Applied” Review
administering agency’s clarifying interpretations, and even
its violation determinations, as long they were grounded              The district court ruled not only that the Certification
in “statutory provisions, regulations, and other guidelines           Condition was not statutorily authorized, but also that it
provided by the Department” at the time of the grant.                 could not be so authorized without violating the Constitution.
   Id. at 670–71, 105 S.Ct. 1544; see also              United        Specifically, the district court held that     8 U.S.C. §
States v. O’Hagan, 521 U.S. 642, 672-73, 117 S.Ct. 2199,              1373, the law for which the condition required certification,
138 L.Ed.2d 724 (1997) (recognizing agency authority to               “is facially unconstitutional under the anticommandeering
prescribe legislative rules consistent with statute). Plaintiffs      doctrine of the Tenth Amendment,” and, as such, “drops out



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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 20 of 34 PageID #:461
State v. Department of Justice, --- F.3d ---- (2020)


of the possible pool of ‘applicable federal laws’ ” requiring §
                                                                     that    § 1373’s enactment was animated by reports that
10153(a)(5)(D) certification.      New York v. Dep’t of Justice,     States and localities receiving federal funding were hindering
343 F. Supp. 3d at 237 (internal quotation marks omitted). The       cooperation with immigration authorities. See supra at ––––
district court did not have to reach this constitutional question,   – ––––. Nor is there any reason to think that the law would
having already found the Certification Condition to violate          not operate as Congress intended as applied in the funding
the APA. See       Lyng v. Nw. Indian Cemetery Protective            context. See generally   Alaska Airlines, Inc. v. Brock, 480
Ass’n, 485 U.S. 439, 445, 108 S.Ct. 1319, 99 L.Ed.2d                 U.S. at 684–85, 107 S.Ct. 1476 (discussing two factors
534 (1988) (noting that “longstanding principle of judicial          informing severability).
restraint requires that courts avoid reaching constitutional
questions in advance of the necessity of deciding them”);            With this understanding, that, in the end, the proper scope
                                                                     of constitutional inquiry is “as applied,” we briefly discuss
accord    Camreta v. Greene, 563 U.S. 692, 705, 131 S.Ct.
                                                                     concerns raised by the district court’s facial assessment before
2020, 179 L.Ed.2d 1118 (2011). This court, however, cannot
avoid the issue in light of our ruling that the Certification        explaining our conclusion that   § 1373 does not violate
Condition is statutorily authorized.                                 the Tenth Amendment as applied here to States and localities
                                                                     seeking Byrne Program grants.
 [15] For reasons briefly explained herein, we think the
district court’s reasoning insufficient to support its declaration
of facial unconstitutionality. We do not pursue the matter
                                                                               (2) The District Court’s Identification
in detail, however, because    § 1373’s constitutionality is                        of Facial Unconstitutionality
properly assessed here not on the face of the statute, but as
                                                                      [16] The Tenth Amendment states: “The powers not
applied to clarify a federal funding requirement. 25 In that
                                                                     delegated to the United States by the Constitution, nor
context,     § 1373 does not constitute commandeering in             prohibited by it to the States, are reserved to the States
violation of the Tenth Amendment.                                    respectively, or to the people.” U.S. CONST. amend.
                                                                     X. From this text, the Supreme Court has derived an
 *19 To the extent the district court thought that        § 1373     “anticommandeering principle,” which prohibits the federal
had to be constitutional in all its applications to be identified    government from compelling the States to enact or administer
as an “applicable Federal law[ ]” warranting § 10153(a)(5)           a federal regulatory program. See   Printz v. United States,
(D) certification, it was mistaken. Even assuming arguendo           521 U.S. 898, 935, 117 S.Ct. 2365, 138 L.Ed.2d 914 (1997)
that     § 1373 can constitutionally be applied to States and        (“The Federal Government may neither issue directives
localities only when they are seeking federal funding—a              requiring the States to address particular problems, nor
matter we do not here decide—the principle of severability           command the States’ officers, or those of their political
would warrant upholding the statute as so narrowed. See              subdivisions, to administer or enforce a federal regulatory
                                                                     program.”).
   Alaska Airlines, Inc. v. Brock, 480 U.S. 678, 685, 107
S.Ct. 1476, 94 L.Ed.2d 661 (1987) (discussing severability           This court has already considered, and rejected, a facial
in addressing constitutional challenges to statutes); accord
                                                                     commandeering challenge to     § 1373. See     City of
   National Fed’n of Indep. Bus. (“NFIB”) v. Sibelius, 567           New York v. United States, 179 F.3d 29 (2d Cir. 1999).
U.S. 519, 586–88, 132 S.Ct. 2566, 183 L.Ed.2d 450 (2012)
(severing part of Affordable Care Act raising constitutional         We reasoned that     § 1373 does not “compel[ ] state
                                                                     and local governments to enact or administer any federal
concerns and upholding remainder);        United States v.
Booker, 543 U.S. 220, 245, 125 S.Ct. 738, 160 L.Ed.2d                regulatory program.”    Id. at 35. Nor does it “affirmatively
621 (2005) (remedying constitutional defect in Sentencing            conscript[ ] states, localities, or their employees into
Guidelines by severing provision for mandatory application).         the federal government’s service.”       Id. Rather, the law
There can be no question that Congress would have enacted            prohibits state and local governments and officials “only from
the law, even as so narrowed. Legislative history indicates




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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 21 of 34 PageID #:462
State v. Department of Justice, --- F.3d ---- (2020)


directly restricting the voluntary exchange of immigration
                                                                  complex” codification of that power,        Arizona v. United
information” with federal immigration authorities.     Id.        States, 567 U.S. at 395, 132 S.Ct. 2492.

[17] The district court acknowledged this precedent, but          [19] This does not mean that States can never enact any
concluded that it does not survive   Murphy v. National           laws pertaining to aliens. See         id. at 404, 132 S.Ct.
Collegiate Athletic Association, ––– U.S. ––––, 138 S.            2492 (observing that “[w]hen there was no comprehensive
Ct. 1461, 200 L.Ed.2d 854 (2018). 26 The Supreme Court            federal program regulating the employment of unauthorized
there held that federal legislation prohibiting States from       aliens ... State had authority to pass its own laws on the
authorizing sports gambling violates the Tenth Amendment’s        subject”). But courts must carefully identify the powers
anticommandeering rule because it “unequivocally dictates         reserved to States in this area of extensive and complex
                                                                  federal legislation and the effect of their exercise on federal
what a state legislature may and may not do.”           Id.       immigration laws and policies. It is doubtful that States have
at 1478. The Court explained that it did not matter               reserved power to adopt—in the words of the district court
whether Congress issued such a dictate by commanding              —immigration policies “contrary to those preferred by the
affirmative action or imposing a prohibition: “The basic
principle—that Congress cannot issue direct orders to state       federal government.”      New York v. Dep’t of Justice, 343 F.
                                                                  Supp. 3d at 235 (internal quotation marks omitted) (emphasis
legislatures—applies in either event.”   Id. The district court   added). As Chief Justice Marshall famously pronounced,
concluded that      Murphy’s reasoning required it to hold        “The states have no power, by taxation or otherwise, to retard,
                                                                  impede, burden, or in any manner control, the operations
   § 1373 facially violative of the Tenth Amendment because
                                                                  of the constitutional laws enacted by congress to carry into
the statute’s proscriptions prevent States from “adopting
                                                                  execution the powers vested in the general government.”
[immigration] policies contrary to those preferred by the
federal government,” or “extricating themselves from federal         McCulloch v. Maryland, 17 U.S. at 436. The Supreme
                                                                  Court recently made the same point in the immigration
immigration enforcement.” New York v. Dep’t of Justice,
                                                                  context. While acknowledging a State’s “understandable
343 F. Supp. 3d at 235 (internal quotation marks and
                                                                  frustrations with the problems caused by illegal immigration,”
alterations omitted).
                                                                  the Court held that the “State may not pursue policies that
                                                                  undermine federal law.”     Arizona v. United States, 567 U.S.
 *20   Murphy may well have clarified that prohibitions
                                                                  at 416, 132 S.Ct. 2492.
as well as mandates can manifest impermissible
commandeering. But the conclusion that      § 1373, on its
                                                                  Here, the district court declared § 1373 facially violative
face, violates the Tenth Amendment does not follow.
                                                                  of the Tenth Amendment without identifying what reserved
                                                                  power States have to enact laws or policies seemingly
 [18] A commandeering challenge to a federal statute depends
on there being pertinent authority “reserved to the States.” In   foreclosed by       8 U.S.C. § 1373, i.e., laws prohibiting
                                                                  their officials and agencies from engaging in even voluntary
   Murphy, there was no question that, but for the challenged
                                                                  communications about citizenship and immigration status
federal law, the States’ police power allowed them to decide
                                                                  with federal authorities. A court undertaking that inquiry
whether to permit sports gambling within their borders. That
                                                                  would have to recognize, as the Supreme Court has, that
conclusion is not so obvious in the immigration context where
                                                                  “[c]onsultation between federal and state officials is an
it is the federal government that holds “broad,” Arizona          important feature of the immigration system” established
v. United States, 567 U.S. at 394, 132 S.Ct. 2492, and
                                                                  by the INA.      Id. at 411, 132 S.Ct. 2492. A court
“preeminent” power,     Toll v. Moreno, 458 U.S. at 10, 102       would then have to consider how various INA provisions
S.Ct. 2977. Title 8 of the United States Code, commonly
                                                                  establish that consultation feature. In   Arizona v. United
known as the Immigration and Nationality Act (“INA”), see
                                                                  States, the Supreme Court discussed various INA provisions
   8 U.S.C. § 1101 et seq., is Congress’s “extensive and          encouraging or prohibiting restrictions on federal-state
                                                                  sharing of immigration-status information before concluding



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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 22 of 34 PageID #:463
State v. Department of Justice, --- F.3d ---- (2020)


that the “federal scheme thus leaves room for a [State]
                                                                   567 U.S. at 578, 132 S.Ct. 2566; see         South Dakota v.
policy requiring state officials to contact [federal immigration
                                                                   Dole, 483 U.S. 203, 207, 107 S.Ct. 2793, 97 L.Ed.2d 171
authorities] as a routine matter.” Id. at 413, 132 S.Ct. 2492      (1987) (explaining that “objectives not thought to be within
(emphasis added). The same conclusion may not be so easy           Article I’s enumerated legislative fields may nevertheless
to reach, however, with respect to a State policy prohibiting      be attained through the use of the spending power and the
                                                                   conditional grant of federal funds” (internal quotation marks
information sharing. Among the statutes cited in        Arizona
v. United States to illustrate the importance placed on federal-   omitted));    United States v. Butler, 297 U.S. 1, 66, 56 S.Ct.
                                                                   312, 80 L.Ed. 477 (1936) (holding that Congress’s power
state consultation by the INA is        8 U.S.C. § 1644. See
                                                                   to place conditions on disbursement of federal funds “is not
   567 U.S. at 412–13, 132 S.Ct. 2492. As discussed supra at       limited by the direct grants of legislative power found in the
–––– – ––––,      § 1644, like   § 1373, prohibits restricting     Constitution”). Thus, where Congress places conditions on
State or local government entities from communicating with         a State’s receipt of federal funds—whether directly, or by
federal immigration authorities “ ‘regarding the immigration       delegation of clarifying authority to an executive agency—
status, lawful or unlawful, of an alien in the United States.’     there is no commandeering of reserved State power so long
                                                                   as the State has “a legitimate choice whether to accept the
” Id. (quoting     8 U.S.C. § 1644). Further, even outside
the immigration context, the Supreme Court has not decided         federal conditions in exchange for federal funds.”      NFIB v.
                                                                                                                28
whether a federal law imposing “purely ministerial reporting       Sibelius, 567 U.S. at 578, 132 S.Ct. 2566.
requirements” on the States violates the Tenth Amendment.
                                                                    *22 [23] A State is deprived of “legitimate choice” only
See Printz v. United States, 521 U.S. at 936, 117 S.Ct. 2365
                                                                   when the federal government imposes grant conditions that
(O’Connor, J., concurring) (noting open question regarding
                                                                   pass the point at which “pressure turns into compulsion.”
statute’s missing child reporting requirement).
                                                                      Id. at 577–78, 132 S.Ct. 2566 (internal quotation marks
 *21 While this authority casts doubt on the district
                                                                   omitted). On this point, even the      NFIB dissenters agreed.
court’s identification of facial unconstitutionality, we do not
ourselves pursue the point further because, even assuming          See     id. at 681, 132 S.Ct. 2566 (Scalia, J., with Kennedy,
some power reserved for the States to prohibit information         Thomas, and Alito, JJ., dissenting) (observing that “courts
sharing with federal immigration authorities, we conclude          should not conclude that legislation is unconstitutional ...
                                                                   unless the coercive nature of an offer is unmistakably clear”).
that    § 1373 does not violate the Tenth Amendment as
                                                                   Pressure can turn into compulsion when the amount of
applied here to a federal funding requirement. 27                  funding that a State would lose by not acceding to the federal
                                                                   conditions is so significant to the States’ overall operations as
                                                                   to leave it with no real choice but to agree.

   (3)    Section 1373 Raises No Commandeering                     Such was the case with the Medicaid expansion provision
Concerns as Applied to a Federal Funding Requirement               of the Affordable Care Act, which the Supreme Court held
 [20] [21] [22] While Congress cannot regulate the States, invalid in         NFIB v. Sebelius because it threatened States
its constitutional powers, notably under the Spending Clause, rejecting expansion with the withholding of 100% of their
see U.S. CONST. art. I, § 8, cl. 1, do allow it to “fix       Medicaid funding, which constituted 10% to 16% of most
the terms on which it shall disburse federal money to the     States’ total budgets. The Supreme Court concluded that
                                                              “[t]he threatened loss of over 10 percent of a State’s overall
States,”      Pennhurst State Sch. & Hosp. v. Halderman,
                                                              budget ... is economic dragooning that leaves the States with
451 U.S. at 17, 101 S.Ct. 1531. By setting such terms,
                                                              no real option but to acquiesce in the Medicaid expansion.”
Congress can “influenc[e] a State’s policy choices,”     New
                                                                  Id. at 581–82, 132 S.Ct. 2566 (describing condition as “a
York v. United States, 505 U.S. at 166, 112 S.Ct. 2408,
                                                              gun to the head”).
and even “implement federal policy it could not impose
directly under its enumerated powers,”       NFIB v. Sibelius,




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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 23 of 34 PageID #:464
State v. Department of Justice, --- F.3d ---- (2020)


The funding loss associated with most grant conditions,           Condition is statutorily authorized by 34 U.S.C. § 10153(a)(5)
                                                                  (D), we conclude that the condition does not violate either the
however, does not raise such coercion concerns. See      id. at
                                                                  APA or the Constitution. Accordingly, we vacate the district
684–85, 132 S.Ct. 2566 (Scalia, J., with Kennedy, Thomas,
                                                                  court’s injunction prohibiting application of the Certification
and Alito, JJ., dissenting) (observing that Medicaid expansion
                                                                  Condition.
provision was “quite unlike anything that we have seen in a
prior spending-power case” in that it “threatened to withhold
42.3% of all federal outlays to the States”). In        South
                                                                    3. The Notice Condition Is Statutorily Authorized by
Dakota v. Dole, the Supreme Court described a threatened loss
                                                                     8 U.S.C. §§ 10153(a)(4), 10153(a)(5)(C), and 10155
of 5% of federal highway funding—less than 0.5% of South
Dakota’s budget—if the state did not raise its legal drinking     The challenged Notice Condition requires States and
age to 21, as only “mild encouragement” and “a valid use of       localities accepting Byrne grants to have in effect during
the spending power.”     483 U.S. at 211–12, 107 S.Ct. 2793.      the grant period a “statute, or a state rule, -regulation, -
                                                                  policy, or -practice” for their criminal detention facilities to
                                                                  respond “as early as practicable” to written requests from
[24] This case is much more akin to              Dole than to
                                                                  federal immigration authorities for notice of identified aliens’
   NFIB. While plaintiffs emphasize that a failure to provide     scheduled release dates. Supra at –––– – –––– (quoting
§ 10153(a)(5)(D) certification in a form acceptable to the        condition). The Attorney General’s statutory authority to
Attorney General, i.e., a form certifying a willingness to        impose this condition derives from 34 U.S.C. §§ 10153(a)(4),
comply with      8 U.S.C. § 1373, can result in the denial of     10153(a)(5)(C), and 10155.
any Byrne funding for that year, plaintiffs do not—and cannot
—claim that such a loss represents so significant a percentage    Section 10153(a)(4) requires a State or locality seeking
of their annual budgets as to cross the line from pressure to     Byrne funding to include in its application, “in such form
coercion. For example, New York’s anticipated 2017 Byrne          as the Attorney General may require,” “[a]n assurance” that
award is $8,879,161, a significant amount of money to be          throughout the grant period, “the applicant shall maintain
sure, but one representing less than 0.1% of the State’s annual   and report such data, records, and information (programmatic
$152.3 billion budget, a smaller percentage loss even than        and financial) as the Attorney General may reasonably
                                                                  require.” Section 10153(a)(5)(C) requires a Byrne grant
that in   Dole. 29 Massachusetts’ anticipated 2017 Byrne          applicant to provide “[a] certification, made in a form
award is $3,453,006, also representing less than 0.1% of its      acceptable to the Attorney General,” that “there has been
annual $38.92 billion budget. 30 Thus, however much the           appropriate coordination with affected agencies.” Section
plaintiff States would prefer to receive Byrne awards without     10155 authorizes the Attorney General to “issue rules to carry
                                                                  out” these requirements and any other parts of the Byrne
having to certify their willingness to comply with 8 U.S.C.
                                                                  Program.
§ 1373, they cannot complain that the consequences for
failing to do so are so severe as to leave them with no real
                                                                  The district court did not discuss these statutory conditions.
choice in the matter. As the Supreme Court has observed
                                                                  It concluded simply that the Notice Condition was not
in connection with the conditions attached to most federal
                                                                  authorized by § 10102(a)(6), as DOJ maintained. The
funding programs: “The States are separate and independent
                                                                  Third Circuit, however, did consider §§ 10153(a)(4)
sovereigns. Sometimes they have to act like it.”       NFIB v.    and 10153(a)(5)(C). It concluded that § 10153(a)(4) did
Sebelius, 567 U.S. at 579, 132 S.Ct. 2566.                        not authorize the Notice Condition because “[its] data-
                                                                  reporting requirement is expressly limited to ‘programmatic
 *23 In sum, the district court erred in holding   8 U.S.C.       and financial’ information—i.e., information regarding the
§ 1373 unconstitutional because the statute does not violate      handling of federal funds and the programs to which those
the anticommandeering principle of the Tenth Amendment as         funds are directed. It does not cover Department priorities
applied here to a federal funding requirement.                    unrelated to the grant program.”     City of Philadelphia v.
                                                                  Attorney Gen., 916 F.3d at 285. As for § 10153(a)(5)(C), the
In the absence of any such Tenth Amendment concern,               Third Circuit concluded that it did not authorize the Notice
and in light of our holding that the challenged Certification     Condition because its “coordination requirement” operated


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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 24 of 34 PageID #:465
State v. Department of Justice, --- F.3d ---- (2020)


only in the past tense, i.e., “to require certification that there   in place for its criminal detention facilities to report identified
was appropriate coordination in connection with the grantee’s        aliens’ release dates “as early as practicable” after receipt of
application. This does not serve as a basis to impose an             a written federal request, we are satisfied that the requirement
ongoing requirement to coordinate on matters unrelated to the        falls within the Attorney General’s authority to determine
                                                                     the “form” of an acceptable Byrne grant application, which
use of grant funds.”     Id. (emphases in original).
                                                                     necessarily includes the form of an acceptable assurance.
                                                                     34 U.S.C. § 10153(a). That conclusion is reinforced by the
To explain why we conclude otherwise, we discuss each
                                                                     Attorney General’s authority to “issue rules to carry out
statutory requirement in turn.
                                                                     this part.” Id. § 10155. See generally  Federal Election
                                                                     Campaign Comm’n v. Democratic Senatorial Campaign
                                                                     Comm., 454 U.S. 27, 37, 102 S.Ct. 38, 70 L.Ed.2d 23
     a. Section 10153(a)(4)’s Reporting Requirement
                                                                     (1981) (“[D]eference should be presumptively afforded” to
 [25] The plain language of § 10153(a)(4) authorizes the             agency authorized to make rules in administering statute.);
Attorney General to decide both what data, records, and                 National Broad. Co. v. United States, 319 U.S. 190,
information a Byrne grant recipient must maintain and report         215, 219, 63 S.Ct. 997, 87 L.Ed. 1344 (1943) (explaining
and the form of an applicant’s assurance that it will do so.         that statute delegating authority, inter alia, to “[m]ake such
This authority is cabined only by the parenthetical modifier         rules and regulations ... as may be necessary to carry
“(programmatic and financial),” which serves to limit the            out the provisions of this Act” gave agency “expansive
referenced data, records, and information to those pertaining        powers” (internal quotation marks omitted)).
to the particular program being funded by a Byrne grant or
to related financial matters. In this respect, at least, we agree
with the Third Circuit. See id.
                                                                      b. Section 10153(a)(5)(C)’s Coordination Requirement
 *24 But unlike that court, we think the release information
                                                                      [26] Further statutory authority for the Notice Condition is
required by the Notice Condition is “programmatic,” at
                                                                     supplied by § 10153(a)(5)(C)’s requirement for certification,
least for Byrne-funded programs that relate in any way
                                                                     in “a form acceptable to the Attorney General,” that “there has
to the criminal prosecution, incarceration, or release of
                                                                     been appropriate coordination with affected agencies.” The
persons, some of whom will inevitably be aliens subject to
                                                                     Third Circuit observed that Congress’s use of the past tense in
removal. 31 This includes most, if not all, of the programs          the quoted text signals that “appropriate coordination” must
for which plaintiffs seek Byrne funding, for example, (1)            have occurred by the time a State or locality formally files
programs for task forces targeting certain crimes, the object
                                                                     its Byrne Program application. See     City of Philadelphia
of which is undoubtedly the arrest, prosecution, and eventual
                                                                     v. Attorney Gen., 916 F.3d at 285. While we agree with
incarceration of perpetrators; (2) programs for prosecutors’
                                                                     that construction, we do not think that means the required
offices, whose attorneys decide when to pursue (or forego)
the prosecution and incarceration of criminal suspects; (3)          coordination need not continue into the future. See        id.
programs for defenders’ offices, whose attorneys work to             Rather, we think appropriate coordination frequently, perhaps
secure persons’ release from criminal detention and to avoid         invariably, must determine future conduct.
their conviction and incarceration; (4) diversion programs for
persons who might otherwise remain in criminal custody; (5)          The plain meaning of “coordination” is “the functioning of
programs for persons while incarcerated or for the facilities        parts in cooperation and normal sequence.” WEBSTER’S
maintaining them; (6) programs for persons upon their release        THIRD NEW INTERNATIONAL DICTIONARY 502.
from incarceration. As to such programs, we conclude that            “Coordination” strives to bring a “combination [of parts] in
the Attorney General is statutorily authorized by 8 U.S.C. §         suitable relation for most effective or harmonious results.” Id.
10153(a)(4) to require Byrne grant recipients to report when         The definition does not describe a static concept that ends as
identified aliens in their custody will be released. 32              soon as the suitable relation of parts and sequence of their
                                                                     operation is determined. Rather, coordination contemplates
Insofar as the Notice Condition specifically requires a grant        that relation and sequence are agreed upon in order to
applicant to have a statute, rule, regulation, policy, or practice



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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 25 of 34 PageID #:466
State v. Department of Justice, --- F.3d ---- (2020)


establish how parts will operate going forward to achieve          LAW DICTIONARY (9th ed. 2009) (defining “affect” to
effective and harmonious results.                                  mean “to produce an effect on; to influence in some way”).
                                                                   The degree of influence need not be significant for the law
 *25 The “parts” pertinent to § 10153(a)(5)(C)’s coordination      to recognize that something has been “affected” in a range of
requirement are the grant applicant and the agencies that will
                                                                   contexts. See, e.g.,     Jones v. United States, 529 U.S. 848,
be affected by that grant. Thus, the certification required by
                                                                   854, 120 S.Ct. 1904, 146 L.Ed.2d 902 (2000) (holding that
§ 10153(a)(5)(C) demands that, in advance of any Byrne
                                                                   “statutory term ‘affecting ... commerce,’ ... when unqualified,
award, States and localities coordinate with affected agencies
                                                                   signal[s] Congress’ intent to invoke its full authority under
to determine their relationship and sequence of conduct as
                                                                   the Commerce Clause”); United States v. Wiant, 314 F.3d
necessary throughout the grant period to ensure effective and
                                                                   826, 830 (6th Cir. 2003) (holding, in context of “affected a
harmonious results.
                                                                   financial institution” that “breadth of [its] definition indicates
                                                                   that” word “affect” “is intended to encompass even minimal
Put more concretely, if a State were to seek Byrne Program
funding for its State police to pursue a law enforcement           impacts”); United States v. SKW Metals & Alloys, Inc., 195
initiative involving undercover operations across several          F.3d 83, 90 (2d Cir. 1999) (“The sum of what dictionaries
municipalities, “appropriate coordination” might well require      say about the relevant meaning is that the verb ‘to affect’
the State to reach an understanding with the affected localities   expresses a broad and open-ended range of influences.”).
as to how notice will be given to them when those undercover
activities are occurring within their borders, thus ensuring       When States use Byrne grants in ways related to
that local authorities do not misidentify the State undercover     the prosecution, incarceration, or release of aliens, the
officers as real criminals, with possibly tragic consequences      DHS Secretary’s performance of numerous statutory
for both sides. In sum, the parties reach an understanding         responsibilities with respect to such aliens is affected.
about necessary coordination before the State files its formal     For example, the Secretary must “begin any removal
Byrne grant application, and the parties’ conduct during the       proceeding” for an alien convicted of a deportable offense
funding period is coordinated as thus agreed upon.                 “as expeditiously as possible after the date of the conviction,”
                                                                       8 U.S.C. § 1229(d)(1); must effect the removal of such an
Similarly, were a State or locality to seek a Byrne grant          alien “within ... 90 days” after an order of removal becomes
to modernize equipment used to track terrorist threats,            final, see id. § 1231(a)(1)(A)–(a)(1)(B)(i)–(ii); and must
“appropriate coordination” might require the applicant to          detain the alien during that 90-day period, see id. § 1231(a)
consult with other state and federal agencies engaged in
                                                                   (2). 33 The Secretary, however, “may not remove an alien who
similar tracking and to reach agreement as to the type of
                                                                   is sentenced to imprisonment”—whether by federal or State
compatible equipment to be acquired and how obtained
                                                                   authorities—“until the alien is released.” Id. § 1231(a)(4)(A).
information will be shared and secured. Such coordination
                                                                   In that case, the 90-day removal period starts to run from the
before formal application then determines the parties’ conduct
                                                                   date of the alien’s release from custody. See id. § 1231(a)(1)
after receipt of the grant.
                                                                   (B)(iii). 34 Moreover, in circumstances where a removable
So, here, when a State seeks Byrne funding for programs that       alien is released from custody before a final removal order
relate to the prosecution, incarceration, or release of persons,   has been obtained, the law authorizes the Secretary to issue a
some of whom will be removable aliens, there must be               warrant for the alien’s arrest and detention, see id. § 1226(a),
coordination with the affected federal agency, the Department      and (with limited exceptions) requires the Secretary to do so
of Homeland Security (“DHS”), before a formal application          if the alien has a certain criminal history or has engaged in
is filed, but what makes that coordination “appropriate” is that   terrorist activities, see id. § 1226(c)(1), (2). 35
it will establish the parties’ relationship and the sequence of
their conduct throughout the grant period.                          *26 As even this brief review makes plain, a removable
                                                                   alien’s State incarceration and release from incarceration
To explain what makes DHS an affected agency, we begin             will affect DHS’s performance of its own statutory
with the ordinary and clear meaning of “affect,” which is to       duties throughout the grant period. In these circumstances,
“produce a material influence upon.” WEBSTER’S THIRD               “appropriate coordination” requires that, by the time a State
NEW INTERNATIONAL DICTIONARY 35; see BLACK’S                       or locality files its Byrne grant application, it have reached



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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 26 of 34 PageID #:467
State v. Department of Justice, --- F.3d ---- (2020)


an agreement with DHS as to their mutual relationship and          their legal status in this country. See supra at –––– (quoting
sequence of conduct throughout the grant period. Any less          condition).
coordination would not be “appropriate”; indeed, it would be
meaningless.                                                       As explained in discussing the Notice Condition, when States
                                                                   seek Byrne funding for programs related to the prosecution,
The Notice Condition serves to ensure such appropriate             incarceration, or release of persons, some of whom will
coordination. It advises States that, at the time they file a      inevitably be removable aliens, DHS is an “affected agency”
Byrne grant application, they must agree to respond as soon        for purposes of 34 U.S.C. § 10153(a)(5)(C). That is because a
as practicable to a written DHS request for the release date       State’s incarceration of an alien requires DHS to delay acting
of an identified State-incarcerated alien and to have a statute,   on its own statutory obligations to arrest, detain, and remove
rule, or policy in force throughout the grant period.              certain aliens until the State releases the alien. See supra at
                                                                   –––– – ––––. In such circumstances, coordination between the
We conclude that the Attorney General is authorized to             State and DHS is not only appropriate, but necessary, to allow
impose such a condition by § 10153(a)(5)(C), which                 the federal agency effectively to resume its obligations when
empowers him to determine the acceptable form for certifying       the State has achieved its penal ones.
appropriate coordination. See supra at –––– (discussing
dictionary definition of “form” as something requiring              *27 For DHS to be able to do so, it needs to ascertain not
                         36
“specific information”). It is further supported by § 10155,       only when a removable alien will be released (the object of
which authorizes the Attorney General to issue rules for           the Notice Condition), but also what aliens incarcerated by the
carrying out Byrne Program requirements. Of course, we             State are removable. DHS does not ask the State to provide
recognize that plaintiffs would prefer not to coordinate at all    the latter information. Rather, it asks to be afforded access
with DHS, but that option is denied to them by § 10153(a)(5)       to State-incarcerated aliens (or suspected aliens) so that DHS
(C) when the States seek Byrne grants for programs relating        can itself ascertain their potential removability before release.
to prosecution, incarceration, or release that will affect DHS’s   That is what the challenged Access Condition ensures. 37
performance of its own statutory duties.
                                                                   Affording such access constitutes “appropriate coordination”
In sum, we conclude that the Notice Condition is statutorily       in that it allows both the State seeking a Byrne grant for
authorized by § 10153(a)(4)’s reporting requirement, §             purposes relating to prosecution, incarceration, or release
10153(a)(5)(C)’s coordination requirement, and § 10155’s           and an affected agency, DHS, to carry out their respective
rule-making authority for Byrne Program applications               duties with respect to incarcerated aliens in an orderly
relating to prosecution, incarceration, and release. That being    sequence. Thus, as with the Notice Condition, we conclude
the purpose for which plaintiffs have generally sought Byrne       that the Attorney General is statutorily authorized to impose
funding, we vacate the district court’s injunction barring any     the Access Condition pursuant to § 10153(a)(5)(C), which
application of the Notice Condition.                               empowers him to determine the acceptable form for certifying
                                                                   appropriate coordination, and § 10155, which authorizes him
                                                                   to issue rules to carry out the coordination requirement.
                                                                   Accordingly, we vacate the injunction prohibiting any
    4. The Access Condition Is Statutorily Authorized
                                                                   application of the Access Condition.
        by 34 U.S.C. §§ 10153(a)(5)(C) and 10155

 [27] Title 34 U.S.C. § 10153(a)(5)(C)’s coordination
                                                                      II. The Attorney General’s Imposition of the
requirement and § 10155’s rule-making provision also
                                                                      Challenged Conditions Was Not Arbitrary and
authorize the challenged Access Condition, and for much
                                                                      Capricious
the same reason that they authorize the challenged Notice
                                                                   Plaintiffs argue that, even if the Attorney General was
Condition. The Access Condition requires Byrne grant
                                                                   statutorily authorized to impose the challenged conditions,
applicants to agree to have in place throughout the grant
                                                                   the district court correctly concluded that it was arbitrary
period a “statute, or a State rule, -regulation, -policy, or -
                                                                   and capricious for him to do so here without considering
practice” that ensures federal immigration officials “access”
                                                                   the conditions’ negative consequences, particularly in
to State correctional facilities so that these officials can
                                                                   undermining relationships between immigrant communities
meet with detained aliens (or suspected aliens) to determine


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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 27 of 34 PageID #:468
State v. Department of Justice, --- F.3d ---- (2020)


                                                                  comply with an applicable federal law on a finding that
and local law enforcement. See           New York v. Dep’t of
                                                                  the detrimental effects of compliance outweigh the benefits.
Justice, 343 F. Supp. 3d at 240–41. The conclusion does
                                                                  Indeed, that would be particularly unwarranted here where the
not withstand de novo review. See Karpova v. Snow, 497
                                                                  legislative history shows that Congress was itself aware of the
F.3d 262, 267 (2d Cir. 2007) (holding that appeals court
                                                                  very detrimental effects raised by plaintiffs when it enacted
reviewing summary judgment award on APA claim examines
“administrative record de novo without according deference           § 1373. See supra at –––– (quoting Senator Kennedy’s
to the decision of the district court”).                          acknowledgment of mayors’ concerns that cooperating with
                                                                  immigration authorities could be counterproductive). Thus,
 [28] While agency action may be overturned as arbitrary          DOJ’s failure to discuss detrimental effects does not show
and capricious if the agency “entirely failed to consider an      that it arbitrarily or capriciously imposed the Certification
                                                                  Condition.
important aspect of the problem” at issue,   Motor Vehicle
Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto. Ins. Co.,
                                                                  As for the Notice and Access Conditions, these apply
463 U.S. 29, 43, 103 S.Ct. 2856, 77 L.Ed.2d 443 (1983),
                                                                  only to persons in State custody, i.e., persons found guilty
a court will not “lightly” reach that conclusion, Islander        beyond a reasonable doubt of charged crimes, or persons
East Pipeline Co., LLC v. McCarthy, 525 F.3d 141, 151 (2d         for whom there is at least probable cause to think that
Cir. 2008) (citing approvingly to  Patterson v. Caterpillar,      they committed crimes. Such conditions do not put law-
Inc., 70 F.3d 503, 505 (7th Cir. 1995) (stating that court        abiding undocumented aliens who have been crime victims
“must be very confident that the decisionmaker overlooked         or witnesses at risk of removal and, thus, should not dissuade
something important”)).                                           such aliens from reporting crimes or cooperating in their
                                                                  investigation. 38 Thus, it was hardly arbitrary or capricious
 [29] Here, DOJ did not overlook something important. As          for DOJ to impose these conditions without discussing
the district court acknowledged, DOJ was aware of the             detrimental effects that they were unlikely to cause.
detrimental effects plaintiffs fear from the three challenged
conditions. The court also acknowledged that the weight           Nor are we persuaded by plaintiffs’ further argument that the
to be given these effects as compared to the conditions’          challenged conditions are arbitrary and capricious because
                                                                  DOJ failed to “display awareness that it [was] changing
perceived benefits was at least arguable. See    New York v.
                                                                  position” and did not show “good reasons for the new
Dep’t of Justice, 343 F. Supp. 3d at 241. The sole ground on
which the district court concluded that DOJ arbitrarily and       policy.”     Encino Motorcars, LLC v. Navarro, ––– U.S.
capriciously “ignored” these detrimental effects in imposing      ––––, 136 S. Ct. 2117, 2126, 195 L.Ed.2d 382 (2016)
the challenged conditions was its failure to mention such         (internal quotation marks omitted). DOJ did not change its
                                                                  position; rather, the Attorney General exercised his authority
effects in any proffered document. See   id. (observing that
                                                                  to have Byrne grant applicants satisfy the §§ 10153(a)(4),
documents “do not reflect that [DOJ] in any way considered
                                                                  10153(a)(5)(C), and 10153(a)(5)(D) requirements in a more
whether jurisdictions’ adherence to the conditions would
                                                                  specific form. Even if it was necessary to show “good
undermine trust and cooperation between local communities
                                                                  reasons” for this decision, however, that is satisfied here
and government”).
                                                                  by the 2016 IG Report’s findings of a significant, decade-
                                                                  long decline in cooperation between local law enforcement
 *28 In fact, there was no need for DOJ to discuss the relative
                                                                  officials and federal immigration authorities, some achieved
detriments and benefits of the Certification Condition. That
                                                                  through policies in tension with, if not actually violative of,
condition identifies a specific statute,   8 U.S.C. § 1373,
                                                                     8 U.S.C. § 1373.
as an “other applicable Federal law[ ]” for purposes of the
statutory compliance certification requirement of 34 U.S.C.
§ 10153(a)(5)(D). Thus, the sole question for DOJ to decide
                                                                                        CONCLUSION
was whether     8 U.S.C. § 1373 is an applicable law.
Having made that decision—which we uphold, see supra              To summarize, we conclude as follows:
at –––– – ––––—nothing in the statute authorized DOJ to
excuse a Byrne applicant from certifying its willingness to


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        Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 28 of 34 PageID #:469
State v. Department of Justice, --- F.3d ---- (2020)



    (1) The Attorney General was statutorily authorized to           (1) We REVERSE the district court’s award of partial
       impose all three challenged conditions on Byrne grant            summary judgment to plaintiffs;
       applications.
                                                                     (2) We VACATE the district court’s mandate ordering
       *29 a. The Certification Condition (1) is statutorily            defendants to release withheld 2017 Byrne funds to
        authorized by 34 U.S.C. § 10153(a)(5)(D)’s                      plaintiffs, as well as its injunction barring defendants
        requirement that applicants comply with “all other              from imposing the three challenged immigration-related
        applicable Federal laws,” and (2) does not violate the          conditions on such grants; and
        Tenth Amendment’s anticommandeering principle;
                                                                     (3) We REMAND the case to the district court,
      b. The Notice Condition is statutorily authorized by
         34 U.S.C. § 10153(a)(4)’s reporting requirement,              a. with directions that it enter partial summary judgment
         § 10153(a)(5)(C)’s coordination requirement, and §               in favor of defendants on plaintiffs’ challenge to
         10155’s rule-making authority;                                   the three immigration-related conditions imposed on
                                                                          2017 Byrne Program grants; and
      c. The Access Condition is statutorily authorized by 34
         U.S.C. § 10153(a)(5)(C)’s coordination requirement,           b. insofar as there remains pending in the district
         and § 10155’s rule-making authority.                            court plaintiffs’ challenge to conditions imposed by
                                                                         defendants on 2018 Byrne Program grants, for further
    (2) The Attorney General did not overlook important                  proceedings consistent with this opinion.
       detrimental effects of the challenged conditions so as to
       make their imposition arbitrary and capricious.
                                                                   All Citations
Accordingly,
                                                                   --- F.3d ----, 2020 WL 911417




                                                           Footnotes


1        Defendants have imposed still further conditions on 2018 Byrne grants, which plaintiffs also challenge before
         the district court. Because no judgment has yet been entered on that part of plaintiffs’ case, we do not address
         plaintiffs’ challenge to those conditions on this appeal.
2        The Byrne Program is named for New York City Police Officer Edward Byrne who, at age 22, was shot
         to death while guarding the home of a Guyanese immigrant cooperating with authorities investigating drug
         trafficking. The case is well known in this circuit, where five persons were convicted in the Eastern District of
         New York for their roles in Byrne’s murder. Among these was Howard “Pappy” Mason, a drug dealer who,
         from his New York State prison cell, ordered subordinates to kill a police officer in retaliation for Mason’s own
         incarceration. See Joseph P. Fried, Officer Guarding Drug Witness Is Slain, N.Y. Times, Feb. 27, 1988, at
         A1, 34; Leonard Buder, Trial Is By a Defendant In Police Slaying, N.Y. Times, Nov. 29, 1989, at B5.
3        Available at http://go.usa.gov/xPmkA (last visited Feb. 24, 2020).
4        The APA defines the term “rule” broadly to mean “the whole or a part of an agency statement of general
         or particular applicability and future effect designed to implement, interpret, or prescribe law or policy or
         describing organization, procedure, or practice requirements of an agency ....”   5 U.S.C. § 551(4); see
         Safari Club Int’l v. Zinke, 878 F.3d 316, 332 (D.C. Cir. 2017) (recognizing that APA defines “rule” “very
         broadly” (internal quotation marks omitted)). At the same time, the APA exempts rules pertaining to grants
         from the notice-and-comment procedures generally attending federal rule-making. See       5 U.S.C. § 553(a)
         (2); City of Los Angeles v. McLaughlin, 865 F.2d 1084, 1087 (9th Cir. 1989); cf. Richard B. Cappalli, Rights




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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 29 of 34 PageID #:470
State v. Department of Justice, --- F.3d ---- (2020)


       and Remedies Under Federal Grants 247 (1979) (observing that “a significant number of formula [grant]
       programs contain no mention of Due Process rights”).
5
       The Immigration and Naturalization Service, which had been a part of DOJ, see          8 U.S.C. § 1101(a)(34),
       was disbanded in 2002, see 6 U.S.C. § 291, and its duties divided among three services operating within the
       new cabinet-level Department of Homeland Security: the United States Citizenship and Immigration Service,
       the Immigration and Customs Enforcement Service, and the Customs and Border Protection Service, see
       id. §§ 111, 211, 251–52, 271.
6      Available at https://www.justice.gov/opa/pr/attorney-general-sessions-announces-immigration-compliance-
       requirements-edward-byrne-memorial.
7      As indicated in the text quoted supra at –––– – ––––, the actual Notice Condition sets no firm 48-hour deadline
       but, rather, requires notification “as early as practicable.”
8
       This conference report specifically pertains to   8 U.S.C. § 1644, a provision of the Personal Responsibility
       and Work Opportunity Reconciliation Act of 1996 (Pub. L. 104-193), which states that, “notwithstanding any
       other provision of Federal, State, or local law, no State or local government entity may be prohibited, or in
       any way restricted, from sending to or receiving from the Immigration and Naturalization Service information
       regarding the immigration status, lawful or unlawful, of an alien in the United States.” As this court has
       recognized,      § 1373, enacted a month after      § 1644 as part of the Immigration Reform Act, “expands”
       on the earlier statute insofar as it provides generally that no Federal, State, or local government entity may
       restrict another government entity from sending to, or receiving from INS, any immigration status information.
       See      City of New York v. United States, 179 F.3d 29, 32 (2d Cir. 1999) (rejecting constitutional challenge
       to both laws). Thus, the conference report pertaining to       § 1644 is relevant to § 1373.
9      Senator Feinstein’s comment was made in signaling agreement with a recommendation of the Commission
       on Immigration Reform, a body created by Congress in 1990 to “evaluate the impact of” changes in federal
       immigration law. The relevant exchange is as follows:
          Commissioner Teitelbaum: There is a further condition [on recommended immigration impact aid] that was
          unanimously supported by the Commission ... [and] it should be highlighted, and that is a requirement for
          cooperation by State and local governments with Federal authorities to enforce the immigration laws of
          the United States. I don’t think the Commission would support the notion of impact aid for States and local
          governments that declined to cooperate in enforcement of such laws.
          Senator Feinstein: Nor would I, sir, so I agree with you.
       Immigration Reform Hearings, 103d Cong. at 26.
10     An immigration detainer is the instrument by which federal authorities formally “advise another law
       enforcement agency that [they] seek[ ] custody of an alien presently in the custody of that agency, for the
       purpose of arresting and removing the alien.” 8 C.F.R. § 287.7(a). Supported by an administrative warrant
       issued on a showing of probable cause, the detainer generally requests the agency then having custody of
       the alien to provide federal authorities with advance notice of the alien’s intended release date or to detain
       the alien for a brief time to allow federal authorities to assume custody. See U.S. Immigration and Customs
       Enf’t, Fiscal Year 2017 ICE Enforcement and Removal Operations Report 7–8 (2017); see also Hernandez
       v. United States, 939 F.3d 191, 200 (2d Cir. 2019).
11     The IG reviewed ten jurisdictions receiving federal grants administered by the DOJ’s Office of Justice
       Programs (e.g., Byrne Program grants) and/or the DOJ’s Office of Violence Against Women: “the States
       of Connecticut and California; City of Chicago, Illinois; Clark County, Nevada; Cook County, Illinois; Miami-
       Dade County, Florida; Milwaukee County, Wisconsin; Orleans Parish, Louisiana; New York, New York; and
       Philadelphia, Pennsylvania.” App. at 136.
12     To illustrate with some examples, the IG reported that Cook County, Illinois (Chicago), prohibited its on-
       duty employees from communicating with federal immigration authorities “regarding individuals’ incarceration
       status or release dates.” Id. at 140 (internal quotation marks omitted). Similarly, Orleans Parish, Louisiana



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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 30 of 34 PageID #:471
State v. Department of Justice, --- F.3d ---- (2020)


       (New Orleans) prohibited its officials from “provid[ing] information on an inmate’s release date” to federal
       authorities. Id. By executive order, Philadelphia employees were prohibited from providing federal authorities
       with release date information about the subject of an immigration detainer unless that person was
       incarcerated “for a first or second degree felony involving violence and the detainer is supported by a judicial
       warrant,” and not merely an administrative one. Id. at 141 (internal quotation marks omitted).
       New York City appears to have placed restrictions on its employees’ cooperation with federal immigration
       authorities as early as 1989. See         City of New York v. United States, 179 F.3d at 31 (discussing 1989
       executive order prohibiting city officials or employees from communicating individual’s immigration status
       to federal authorities unless (1) required to do so by law, (2) expressly authorized to do so by alien, or (3)
       alien is suspected of criminal behavior). Then, in a 2003 Executive Order, the City established a “General
       Confidentiality Policy” summarized by the district court as follows:
          City employees may not disclose an individual’s immigration status, except in limited circumstances, such
          as when the disclosure is authorized by the individual, is required by law, is to another City employee as
          necessary to fulfill a governmental purpose, pertains to an individual suspected of illegal activity (other
          than mere status as an undocumented immigrant), or is necessary to investigate or apprehend persons
          suspected of terrorist or illegal activity (other than mere documented status). Additionally, police officers
          may not inquire about a person’s immigration status unless investigating illegal activity other than mere
          undocumented status, and may not inquire about the immigration status of crime victims or witnesses at all.
          Other city employees may not inquire about any person’s immigration status unless the inquiry is required
          by law or is necessary to determine eligibility for or to provide government services.
           New York v. Dep’t of Justice, 343 F. Supp. 3d at 223 (citations omitted). The IG reported that by law
       enacted in November 2014, New York City further prohibited its Corrections personnel from communicating
       inmate release dates to federal immigration authorities unless the inmate is subject to a detainer supported
       by a judicial warrant. See App. at 141.
13     In that respect, DOJ stated,
             Section 1373 does not impose on states and localities the affirmative obligation to collect information
         from private individuals regarding their immigration status, nor does it require that states and localities
         take specific actions upon obtaining such information. Rather, the statute prohibits government entities and
         officials from taking action to prohibit or in any way restrict the maintenance or intergovernmental exchange
         of such information, including through written or unwritten policies or practices.
       App. at 151 (internal quotation marks omitted).
14     The validation requirement imposed by DOJ on New York City’s 2016 Byrne grant stated as follows:
          The recipient agrees to undertake a review to validate its compliance with     8 U.S.C. § 1373. If the recipient
          determines that it is in compliance with      8 U.S.C. § 1373 at the time of review, then it must submit
          documentation that contains a validation to that effect and includes an official legal opinion from counsel
          (including related legal analysis) adequately supporting the validation. If the recipient determines that it is
          not in compliance with       8 U.S.C. § 1373 at the time of review, then it must take sufficient and effective
          steps to bring it into compliance therewith and thereafter submit documentation that details the steps taken,
          contains a validation that the recipient has come into compliance, and includes an official legal opinion
          from counsel (including related legal analysis) adequately supporting the validation. Documentation must
          be submitted ... by June 30, 2017. Failure to comply with this condition could result in the withholding of
          grant funds, suspension or termination of the grant, ineligibility for future [grants], or other administrative,
          civil, or criminal penalties as appropriate.
       App. at 170, ¶ 53. By letter dated June 27, 2017, the City stated that “[n]otwithstanding [its] position that §
       1373 is not an applicable federal law ... the City certifies that its laws and policies comply with and operate




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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 31 of 34 PageID #:472
State v. Department of Justice, --- F.3d ---- (2020)



       within the constitutional bounds of        § 1373.” 2016 Compliance Validation at 2,  New York v. Dep’t of
       Justice, 343 F. Supp. 3d 213 (No. 18-cv-6474), ECF No. 41-1.
15     The relevant statutory text states as follows:
         [t]o the extent necessary to decision and when presented, the reviewing court shall decide all relevant
         questions of law, interpret constitutional and statutory provisions, and determine the meaning or
         applicability of the terms of an agency action. The reviewing court shall ... hold unlawful and set aside
         agency action, findings, and conclusions found to be ... in excess of statutory jurisdiction, authority, or
         limitations, or short of statutory right ....
          5 U.S.C. § 706(2)(C).
16
       See generally       New York v. United States, 505 U.S. 144, 182, 112 S.Ct. 2408, 120 L.Ed.2d 120 (1992)
       (“[S]eparation of powers ... is violated where one branch invades the territory of another.”). But see      Dalton
       v. Specter, 511 U.S. 462, 472, 114 S.Ct. 1719, 128 L.Ed.2d 497 (1994) (explaining that not every action
       “in excess of ... statutory authority is ipso facto in violation of the Constitution,” and distinguishing between
       “claims of constitutional violations and claims that an official has acted in excess of his statutory authority”).
17
       Defendants have not claimed       Chevron deference for their own interpretation of the authority conferred by
       statutes pertaining to Byrne grants and, thus, on this appeal, we do not consider whether any such deference
       might be warranted. See Chevron, U.S.A., Inc. v. Nat. Res. Def. Council, Inc., 467 U.S. 837, 845, 104 S.Ct.
       2778, 81 L.Ed.2d 694 (1984); compare Neustar, Inc. v. FCC, 857 F.3d 886, 894 (D.C. Cir. 2017) (holding
          Chevron deference “forfeited” where not claimed on appeal), with          Sierra Club v. United States Dep’t
       of the Interior, 899 F.3d 260, 286 (4th Cir. 2018) (explaining in case where parties assumed          Chevron
       deference that parties “cannot waive the proper standard of review by failing to argue it” (internal quotation
       marks omitted)). Rather, we conclude on de novo review that the challenged conditions are statutorily
       authorized.
18     The following statutory sections confer on, or confirm, the Attorney General’s authority in this respect:
          •    34 U.S.C. § 10152(c)(1) – Requiring every program funded with a Byrne grant to have a “program
          assessment component, developed pursuant to guidelines established by the Attorney General” together
          with the National Institute of Justice.
          • Id. § 10152(d)(2) – Authorizing Attorney General to certify that extraordinary and exigent circumstances
          warrant using Byrne grant funds for generally prohibited expenditures.
          •     Id. § 10152(f) – Affording Attorney General discretion to extend Byrne grants beyond normal four-
          year period.
          • Id. § 10153(a) – Requiring Byrne grant applicants to submit application to Attorney General “in such form
          as the Attorney General may require,” including statutorily required certifications and assurances.
          • Id. § 10153(a)(5)(C) – Requiring certification “in a form acceptable to the Attorney General” that “there
          has been appropriate coordination with affected agencies.”
          • Id. § 10153(a)(5)(D) – Requiring certification “in a form acceptable to the Attorney General” that “applicant
          will comply with all provisions of this part and all other applicable Federal laws.”
          • Id. § 10154 - Requiring Attorney General to afford applicant notice and opportunity to correct any
          application deficiencies before finally disapproving application.
          • Id. § 10155 – Requiring Attorney General to “issue rules to carry out this part.”
19
       While matters of “substance” are frequently distinguished from matters of “form,” see, e.g., PPL Corp. v.
       Comm’r of Internal Revenue, 569 U.S. 329, 340–41, 133 S.Ct. 1897, 185 L.Ed.2d 972 (2013) (distinguishing
       between form and substance of a tax), a form serves to ensure the communication of required substance.
20     We discuss this notice point further infra at –––– – ––––.



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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 32 of 34 PageID #:473
State v. Department of Justice, --- F.3d ---- (2020)


21
       See     Ransom v. FIA Card Servs., N.A., 562 U.S. 61, 69–70, 131 S.Ct. 716, 178 L.Ed.2d 603 (2011) (using
       both dictionary definitions in construing phrase “debtor’s applicable monthly expense amounts” in provision
       of Bankruptcy Code (emphasis added) (quoting          11 U.S.C. § 707(b)(2)(A)(ii)(I))).
22     The Third Circuit inferred from the fact that qualifying Byrne (and other federal) grant recipients could lose
       a specified (often small) percentage of their annual distribution if they fail to comply with certain other
       statutes, that the Attorney General was not statutorily authorized “to withhold all of a [Byrne] grantee’s funds
       for any reason the Attorney General chooses.”          City of Philadelphia v. Attorney Gen., 916 F.3d at 286
       (emphases in original) (citing 34 U.S.C. § 20927(a) (providing mandatory 10% penalty for failure to comply
       with Sex Offender Registration and Notification Act); id. § 30307(e)(2) (mandating 5% penalty for failure
       to comply with Prison Rape Elimination Act); id. § 40914(b) (withholding up to 4% of funding for failure to
       meet requirements of National Instant Criminal Background Check System)). That reasoning does not apply
       here, where the issue is not whether the Attorney General can withhold Byrne funding for any reason from
       qualifying applicants, but whether he can deny any such funding to an applicant that fails to demonstrate
       qualification under the Program’s statutory requirements, indeed, fails to satisfy them in a “form acceptable to
       the Attorney General,” as Congress has mandated. 34 U.S.C. § 10153(a)(5). To be sure, the form acceptable
       to the Attorney General must be grounded in the qualifying requirements it serves, but where that is the
       case, an applicant’s failure—or refusal—to satisfy the statutory requirement in that form can result in denial
       of a Byrne grant. While the Attorney General cannot “finally disapprove” a deficient Byrne grant application
       “without first affording the applicant reasonable notice of any deficiencies ... and opportunity for correction and
       reconsideration,” id. § 10154, if those deficiencies persist after such notice and opportunity, then the Attorney
       General is authorized to deny the grant in its entirety and to reallocate funds as provided in § 10156(f).
23     The IG’s findings, see supra at –––– – ––––, might well be found to demonstrate the “high risk” identified
       by the Ninth Circuit for imposing “special conditions” on Byrne grants, see           City of Los Angeles v. Barr,
       941 F.3d at 940 (holding that “special conditions,” as referenced in § 10102(a)(6), means “unusual” or
       “extraordinary” conditions for a “high-risk grantee,” i.e., a grantee with “a history of noncompliance with grant
       requirements, financial stability issues, or other factors that suggest[ ] a propensity toward violation of a
       grant’s terms” (internal quotation marks omitted)).
24
       Insofar as plaintiffs rely not only on § 10228, but also on the Tenth Amendment to argue that           § 1373
       cannot be an “applicable” law requiring Compliance Certification, we discuss that constitutional point infra
       at –––– – ––––.
25     As the Supreme Court has long recognized, “as-applied challenges are the basic building blocks of
       constitutional adjudication,” and it is not the court’s “traditional institutional role to resolve questions of
       constitutionality with respect to each potential situation that might develop.” Gonzales v. Carhart, 550 U.S.
       124, 168, 127 S.Ct. 1610, 167 L.Ed.2d 480 (2007) (internal quotation marks and alterations omitted); see
          Village of Hoffman Estates v. Flipside, Hoffman Estates, Inc., 455 U.S. 489, 494–95, 102 S.Ct. 1186,
       71 L.Ed.2d 362 (1982) (holding that courts should consider constitutional challenge to statute as applied to
       plaintiff before considering other applications);      Yazoo & Miss. Valley R.R. Co. v. Jackson Vinegar Co.,
       226 U.S. 217, 219–20, 33 S.Ct. 40, 57 L.Ed. 193 (1912) (upholding statute as applied to instant case without
       speculating as to how it might apply in other circumstances); accord United States v. Holcombe, 883 F.3d
       12, 17 (2d Cir. 2018) (explaining that where First Amendment rights are not implicated, court considers
       constitutional challenge “in light of the specific facts of the case at hand” (internal quotation marks omitted)).
          Section 1373 is not here challenged as constitutionally vague, much less constitutionally vague in a way
       implicating First Amendment rights, so as to warrant more than as-applied review. See     Farrell v. Burke,
       449 F.3d 470, 496 (2d Cir. 2006) (“The general rule disfavoring facial vagueness challenges does not apply




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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 33 of 34 PageID #:474
State v. Department of Justice, --- F.3d ---- (2020)



       in the First Amendment context.”); see also        United States v. Davis, ––– U.S. ––––, 139 S. Ct. 2319, 2323,
       204 L.Ed.2d 757 (2019) (“In our constitutional order, a vague law is no law at all.”).
26     It has long been the rule in this circuit that a panel decision controls “unless and until ... reversed en banc or
       by the Supreme Court.”     In re Arab Bank, PLC Alien Tort Statute Litig., 808 F.3d 144, 154 (2d Cir. 2015)
       (internal quotation marks omitted).
27
       For that same reason, we need not conclusively decide the preemptive effect of § 1373. We note only that,
       insofar as the district court concluded that the statute could claim no preemptive effect because it confers
       a “purported federal right to transmit information only on government entities and officials,” not on private
       persons, its focus may have been too narrow.       New York v. Dep’t of Justice, 343 F. Supp. 3d at 235 (internal
       quotation marks and alterations omitted); see     Murphy v. Nat’l Collegiate Athletic Ass’n, 138 S. Ct. at 1480
       (observing that “Constitution ... confers upon Congress the power to regulate individuals, not States” (internal
       quotation marks omitted)). As already noted,       § 1373 is one provision of a larger statute, the INA, which
       certainly confers rights and places restrictions on large numbers of private persons.
28     The law further requires that federal grant conditions (1) promote the “general welfare,” (2) “unambiguously”
       inform States what is demanded of them, (3) reasonably relate “to the federal interest in particular national
       projects or programs,” and not “induce the States to engage in activities that would themselves be
       unconstitutional.”   South Dakota v. Dole, 483 U.S. at 207–08, 210, 107 S.Ct. 2793 (internal quotation
       marks omitted). None of these requirements is at issue on this appeal. Section 10153(a)(5)(D)’s requirement
       that Byrne grant applicants certify their willingness to comply with “all ... applicable Federal laws” promotes
       the respect for law necessary to the general welfare. See, e.g.,           City of Los Angeles v. Barr, 929 F.3d
       1163, 1176 (9th Cir. 2019) (“[C]ooperation relating to enforcement of federal immigration law is in pursuit
       of the general welfare, and meets the low bar of being germane to the federal interest in providing the
       funding.”). Such a certification condition reasonably relates to the Byrne Program, whose focus, after all, is law
       enforcement. For reasons discussed supra at –––– – ––––, Congress avoids ambiguity by itself stating that §
       10153(a)(5)(D) certification must be made as to all applicable Federal laws, and then authorizing the Attorney
       General to require certification in a form that references specifically identified applicable laws. Finally, nothing
       about § 10153(a)(5)(D) induces unconstitutional conduct by the State-applicants.
29     See NEW YORK DIVISION OF THE BUDGET, FY 2017 ENACTED BUDGET FINANCIAL PLAN 69 (May
       2016), available at https://www.budget.ny.gov/pubs/archive/fy17archive/enactedfy17/FY2017FP.pdf.
30     See Press Release, Governor Baker Signs Fiscal Year 2017 Budget (July 8, 2016), available at https:
       www.mass.gov/news/governor-baker-signs-fiscal-year-2017-budget.
31
       As this court observed in         Cuomo v. Barr, 7 F.3d 17 (2d Cir. 1993), plaintiff “New York houses many
       illegal aliens in its prison system. As of March 1992, New York held approximately 60,000 prisoners in state
       correctional facilities, 8% of whom were known to be aliens and an additional 4% of whom were suspected
       to be aliens. Of this number, 6,096 had been convicted of aggravated felonies, making them subject to
       deportation.”    Id. at 18. While the record on appeal does not provide current statistics, there is no reason
       to suspect a marked decline in these percentages.
32     Because plaintiffs have not sought to distinguish among their grant purposes in defending the challenged
       injunction and judgment, we have no occasion on this appeal to consider whether Byrne Program funding
       could be sought for a purpose so unrelated to prosecution, incarceration, or release that the Notice Condition
       would not be statutorily authorized in those circumstances.
33     While these statutory sections refer to the Attorney General, the removal responsibilities stated therein and
       in other statutory provisions referenced in this part of the opinion have been transferred to the Secretary of
       DHS. See 6 U.S.C. §§ 251(2), 552(d).




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       Case: 3:19-cv-50311 Document #: 35-5 Filed: 03/03/20 Page 34 of 34 PageID #:475
State v. Department of Justice, --- F.3d ---- (2020)


34     States are under no obligation to incarcerate criminal aliens convicted of state felony crimes, but if they do so,
       they may then request that the federal government either (1) pay “compensation ... as may be appropriate”
       to the State “with respect to the incarceration” of the alien, or (2) “take the undocumented criminal alien into
       the custody of the Federal Government and incarcerate the alien.”         8 U.S.C. § 1231(i). It appears that, in
       2017, plaintiff the State of New York received $13.9 million in such compensation pursuant to the SCAAP
       program referenced supra at ––––. See Bureau of Justice Assistance, Fiscal Year 2017 SCAAP Award
       Details, available at https://bja.ojp.gov/program/state-criminal-alien-assistance-program-scaap/archives (last
       visited Feb. 24, 2020) (follow “FY 2017” hyperlink below “SCAAP Awards” subheading).
35     In 1992, New York attempted to sue federal authorities for failing to comply with a predecessor statute
       requiring them to take into custody, upon release, aliens convicted of aggravated felonies under state as
       well as federal law. See Cuomo v. Barr, 812 F. Supp. 324 (N.D.N.Y. 1993), appeal dismissed,           7 F.3d 17
       (2d Cir. 1993).
36     Where, as here, the affected agency is federal, the Attorney General can be expected to have particular
       insights into what coordination is appropriate to establish the relationship and sequence of conduct necessary
       for a grant applicant and the affected federal agency both to perform their respective duties in an effective
       and harmonious manner. But even where the affected agency is not federal, the Attorney General’s form- and
       rule-authority may allow him to help parties resolve coordination disputes that surface after the application is
       made public but before it is approved. See 34 U.S.C. § 10153(a)(3)(B).
37     What it does not ensure is that incarcerated aliens will then agree to talk with federal immigration authorities.
38
       See      City of Philadelphia v. Attorney Gen., 916 F.3d at 282 (citing Philadelphia’s rationale for policy
       limiting employee cooperation with federal immigration authorities: to “foster trust between the immigrant
       community and law enforcement,” which is “critical to reassure law-abiding residents that contact with the
       City government will not lead to deportation” by federal authorities (internal quotation marks omitted));
          City of Chicago v. Sessions, 888 F.3d at 279 (observing that “City recognized ... maintenance of
       public order and safety required the cooperation of witnesses and victims, whether documented or not”);
       Michael R. Bloomberg, Mayor Michael R. Bloomberg Signs Executive Order 41 Regarding City Services
       For Immigrants (Sept. 17, 2003) (remarking in public speech that “[w]hen the parents of an immigrant child
       forego vaccination for fear of being reported to the federal immigration authorities, we all lose .... Likewise,
       we all suffer when an immigrant is afraid to tell the police that she has been the victim of a sexual assault
       or domestic violence”), available at https://www1.nyc.gov/office-of-the-mayor/news/262-03/mayor-michael-
       bloomberg-signs-executive-order-41-city-services-immigrants.


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